ROD“`*;UM/l/ 5/‘?/[4 q{q'm'

Fill in this lnformatlon to identify your case

United States Bankruptcy Court for the:
WESTERN Districl of TEXAS

Case number ¢rrrmown}:

AMT s 33 § .00
RCPT# § 121 S"LS amended iiiing

W 19"5@'§2§? K

Voluntary Petition for individuals Filing for Bankruptcy

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may tile a bankruptcy case together-called a
joint case--arrd in joint eases, these forms use you to ask for information from both debtors. For examp|e, it a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separateiy, the form uses Debtor 1 and
DehtorZ to distinguish between them. |n joint cases, one ofthe spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in atl of the forms.

Be as complete and accurate as possible. lftwo married people are filing together, both are equally responsible for supplying correct
information. |f more space is needed, attach a separate sheet to this forrn. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Chapter you are filing under:
Chapter 7

n Chapter 11

El chapter 12

El chapter 13

  
   

ifl"cm;e&rgjfrhis rs an

 

12I17

m identify Yourself

 

 

 

About Debtor 1: Ahout Debtor 2 (Spouse Oniy in a Joint Case):

1. ¥our full name

Write the name that is on your Cal.la

govemment-issued picture _ Robel’t

identification (for example, F"St name F"St name

your dnver's license or Allll

passport). Midd|e name Middte name

Bling your picture Me-I'a Mejia

identification to your meeting LaST name Last name

with the trustee.

2. A|| other names you

sumx (sr., .rr_, ll, ln)

Su'fhx (Sr., Jr., ||, lll)

 

 

 

 

 

 

Carla
have used il'l the last 3 Firs[ name First name
years Aoo
include your married or Middle name Middie name
maiden names. Brad|¢y
Last name Last name
Carla
Firsi name First name
Ann
Midd|e name Middle name
Lyoch
Last name Last name

3. Oniy the last 4 digits of
your Socia| Security

xxx -xx- 9939

number or federal on on
individual Taxpayer
identification number QXX _ XX ___ __ ______ _ 9 xx - xx -

(mN)

Officiai Form 101

Voluntary Petition for individuals Fillng for Bankruptcy

page 1

Debtor 1

 

Carla Ann Mejia
Firsl Narnn M’iddie Narne LeslName
About Debtor 1:

4. Any business names
and Employer
identification Numbers
{ElN) you have used in
the last 8 years

include trade names and
doing business as names

5. Where you live

m i have not used any business names or E|Ns.

Case number ¢rnmwn)

About Debtor 2 (Spouse On|y in a Joint Case):

m l have not used any business names or E|Ns.

 

Business name

Business name

 

 

 

 

 

 

 

Business name Business name
EI_N_________ H_________
H_________ EE_`__'_"`"`__"_"`

if Debtor 2 lives at a different address:
239 Center Strect #363 239 Center Street #363
Number Street Number Street
San Aotonio TX 78202 San Antonio TX 78202
Ciiy State ZlP Code City State Z|P Code
Bexar ' Bexar'
County County

6. Why you are choosing
this district to file for
bankruptcy

Ofiiciai Forrn 101

if your mailing address is different from the one
above, till ii in here. Note that the court will send
any notices to you at this mailing address

if Debtor 2’5 mailing address is different from
yours, till it in here. Note that the court will send
any notices to this mailing address

 

 

 

 

239 Center Strect #363 239 Center Street #363

Number Street Number Sireet

P.O. Box P.O. Box

San Antonio TX 78202 San Antonio TX 78202

Cify Siai.a ZIP Codo City Sl.'ate ZlP Code
Check one: Check one:

m Over the last 180 days before iiiing this petition,
l have lived in this district longer than in any
other district

i:i l have another reason. Expiain.
(see 28 u.s.c. § 1403.)

 

 

 

 

Voluntary Petitlon for individuals Fi|ing for Bankruptcy

m Over the last 180 days before filing this petitionl
| have lived in this district longer than in any
other district

El l have another reason. Expiain.
(see 28 u.s.C. § 1408.)

 

 

 

 

page 2

¢

Debtor 1 Caria Aon
l-'nst Name Midd|e flame

Mejia Case number (uma».m)
Loa mm

m Tell the Court Abont: Your Bankroptcy Case

7.

10.

11.

The chapter of the
Bankruptcy Code you
are choosing to tile
under

l-low you will pay the fee

i-iave you filed for
bankruptcy within the
last 8 years?

Are any bankruptcy
cases pending or being
filed by a spouse who is
not filing this case with
you, or by a business
partner, or by an
affiliate?

Do you rent your
residence?

Ofiiciai Forrn 101

Check one. (For a brief description of each. see Nolr`ce Required by 11 U.S.C. § 342(b) for individuals Filirrg
for Banla'uplcy (Forrn 2010)). A|so, go to the top of page 1 and check the appropriate box.

m Chapter 7

Cl Chapter 11
ill Chapter 12
n Chapter 13

m l will pay the entire fee when l tile my petition. Piease check with the clerk’s office in your
local court for more details about how you may pay. Typicaliy, if you are paying the fee
yourself, you may pay with cash, cashier's check, or money order. lf your attorney is
submitting your payment on your beha|f, your attomey may pay with a credit card or check
with a pre-printed address

E] l need to pay the fee in installments if you choose this option, sign and attach the
Application for lndividuais to Pay The Filing Fee in installments (Ofiicia| Forrn 103A).

Ei | request that my fee be waived (You may request this option only if you are ii|ing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the oliicial poverty line that applies to your family size and you are unable to
pay the fee in installments). lf you choose this option, you must ii|i out the Application to Have the
Chapter 7 Filing Fee War'ved (Otiicial Fon'n 103B) and tile it with your petition.

 

 

 

 

 

 

 

m No
cl Yes. District When Case number
MM l DD i ¥YYY
District When Case number
MM i DD l YYYY
District When Case number
MM l DD l Y`YY¥
m No
n Yes. Debtor Relationship to you
District When Case number, if known
MMl DD l YYVY
Debtor Relationship to you
District When Case number, if known
MM l DD l \’YYY

cl No Go to line 12.

m Yes. Has your landlord obtained an eviction judgment against you and do you want to stay in your
residence?

q No. co to line 12.

L..l Yes. F ill out lnitial StatementAbout an Evr'ciion Judgment Against You (Fonn 101A) and tile it with
this bankruptcy petition.

Voluntary Petitlon for individuals Filing for Bankruptcy page 3

Debior 1 Carla Ann
Fil’a‘l blame Middle Narrlo

Mcjia Case number unman
Lmt N.ame

Repori: About Any Businesses You Ov\m as a Soie Proprietor

12.

13.

 

Are you a sole proprietor
of any full- or part-time
business?

A sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as
a corporation, partnership, or
LLC.

if you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

Are you filing under
Chapter 11 of the
Bankruptcy Code and
are you a small business
debtor?

For a definition of small

business debfor, see
11 U.S.C. § 101(51D).

G No. co to Pari 4.

l:l Yes. Name and location of business

 

Name of business if any

 

Number Slreet

 

 

City Staie ZlP Code

Checl¢ tire appropriate box to describe your business:

l:l Heaith Care Business (as defined in 11 U.S.C. § 101(27A))
n Single Asset Rea| Estate (as defined in 11 U_S.C. § 101(51|3})
El stockbroker (as denied in 11 u.s.c. § 101(53A})

El commodity eroker(as desired in 11 u.s.c. § 101(6))

m None of the above

lf you are filing under Chapter 11, the court must know whether you are a small business debtorso that il
can set appropriate deadlines lf you indicate that you are a small business debtor, you must attach your
most recent balance sheet, statement of operations cash-now statement and federal income tax return or if
any of these documents do not exist. follow the procedure in 11 U.S.C. § 1116(1)(3}.

m No. i am not filing under Chapter 11.

[:i No. l arn filing under Chapter 11, but l am NOT a small business debtor according to the definition in
the Bankruptcy Code.

[:l Yes. l am filing under Chapter 11 and l am a small business debtor according to the definition in the
Bankmptcy Code.

m Report if You Ov\m or l-iave Any Hazardous Property or Any Froperi:y That Needs immediate At'i:ention

14.

 

Do you own or have any
property that poses or is
alleged to pose a threat
of imminent and
identifiable hazard to
public health or safety?
0r do you own any
property that needs
immediate attention?
For example do you own
perishable goods, or livestock
that must be fed, ora building
that needs urgent repairs?

Oflicial Forrn 101

m No
El Yes. what is the hazard?

 

 

if immediate attention is needed. why is it needed?

 

 

Where is the property?

 

Number Sireet

 

 

City Si.aie ZlP Codo

Voluntary Petition for individuals Fi|ing for Bankruptcy page 4

Debtor 1 Cal'ltl Allll MejiB Case number (iriuiowni
First Namo Middto Namc Lnst Narne

 

, m Explain Your Ef‘forts to Receive a Brieting About Credit Counseling

 

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. lf you
cannot do so, you are not
eligible to tite_

if you tile anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Official Forrn 101

About Debtor 1:

you must check one:

q l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, and l received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, ifany, that you developed with the agency.

m l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, butl do not have a
certificate of completion.

Wlthin 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan. if any.

El i oerury thai i asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after l made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement

To ask for a 30-day temporary waiver of the
requirement attach a separate sheet explaining
what efforts you made to obtain the bdeting. why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to tile this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

|f the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you ti|e_
You must tile a certificate from the approved
agency. along with a copy of the payment plan you
developed, ii any. lf you do riot do sol your case
may be dismissed

Any extension of the SMay deadline is granted
only for cause and is limited to a maximum of 15
days.

n lam not required to receive a briefing about
credit counseling because of:

l:l lncapacity. l have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

El Disability. My physical disability causes me
to be unable to participate in a
briefing in personl by phone, or
through the intemet, even after l
reasonably tried to do so.

l:l Active duty. l am currently on active military
duty in a military combat zone.

|f you believe you are not required to receive a
biiefing about credit counseling, you must file a
motion for waiver of credit counseling with the oourt.

About Debtor 2 {Spouse On|y in a .loint Case):

You must check one:

g l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petitionl and l received a
certificate of completion-

Attach a copy of the certificate and the payment
plan, `rf any. that you developed with the agency.

n l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, but t do not have a
certificate of completion.

Within 14 days after you file this bankruptcy potition,
you MUST file a copy of the certificate and payment
plan, it any.

El l certify that l asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after l made my request, and exigent
circumstances merit a 311-day temporary waiver
of the requirement

To ask for a 313-day temporary waiver of the
requirement attach a separate sheet explaining
what efforts you made to obtain the biiefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to tile this case.

Your case may be dismissed ifthe court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

if the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
¥ou must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. lf you do not do so, your else
may be dismissed.

Any extension of the 311-day deadline is granted
only for cause and is limited to a maximum of 15
days.

Cl l am not required to receive a briefing about
credit counseling because of:

n lncapacity. l have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

El Disabi|ity. My physical disability causes me
to be unable to participate in a
biiefing in person, by phone, or
through the intemet. even after |
reasonably tried to do so.

l:l Active duty. l am currently on active military
duty in a military combat zone.

|f you believe you are not required to receive a
briefing about credit counseling, you must tile a
motion for waiver of credit counseling with the oourt.

Voluntary Petit.ion for individuals Fiting for Bankruptcy page 5

Debtor 1 Carla Ann

H!St flame l~liddla NBmB

m Ansvver These Questions for Reporting Purposes

M_g_j_i_a

La$iNarne

Case number (il'imon»ni

 

1s. What kind of debts do
you have?

11. Are you filing under
Chapter 7?

16a. Are your debts primarily consumer debts? Consumerdebis are denned in 11 U.S.C. § 101 (8)
as lincurred by an individual primarily for a personal. family, or household purpose.”

§ No. Go to line 16b.
m Yes. Go to line 17.

16b. Are your debts primarily business debts? Busi'ness debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment

id No. Goiolino ieo.
El ¥es. Go to fine 17_

160. State the type of debts you owe that are not consumer debts or business debts.

 

m No. t am not filing under Chapter 7. Go to line 18.

Dg you estimate that after m Yes. l am tiling under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

any exempt property is
excluded and
administrative expenses
are paid that funds will be
available for distribution
to unsecured creditors?

18. How many creditors do

you estimate that you
owe?

19. Hovv much do you
estimate your assets to
be worth'?

20. How much do you
estimate your liabilities
to be?

For you

Oiticiat Forrn 101

m No
m Yes

E 149

El 50~99
El 100-199
Ll 2001-399

El $0-$50,000

L.l $50,001-$100,000
L.l $100.001-$500,000
E $500,001-$1 million

Cl so-$so,ooo

tit $50,001-5100.000
El $100.001-$500,000
il $500,001-$1 million

El 1,000-5,000
§ 5,001-10.000
Ll 10,001-25,000

EJ $1,000,001_$10 million

El $10,000,001-$50 million
Zl :550,000,001-$100 million
L_.l $100,000,001~$500 million

El $1,000,001-$10 miilion

Ll $10.000,001-$50 million
Et $50,000,001-$100 million
Ll sioo,ooo,ooi-ssoo million

El 25,001-50.000
Cl 50,001_100,000
§ Moro man ioo,ooo

El $500,000,001-$1 billion

El $i.ooo,ooo,ooi-$io billion
El sio,ooo,ooo,ooi-$so billion
El Moro than 550 billion

El $500.000.001-$1 billion

El $1,000,000,001-$10 billion
iIl $10,000,000,001$50 billion
El More than 550 billion

l have examined this petition, and t declare under penalty of perjury that the information provided is true and

correct

lf | have chosen to file under Chapter 7, l am aware that l may proceed. if etigibte, under Chapter 7, 11,12, or 13
of title 11. United S'aates Code. l understand the retief available under each chapter, and | choose to proceed

under Chapter 7.

|f no attorney represents me and | did not pay or agree to pay someone who is not an attorney to help me fill out
this document l have obtained and read the notice required by 11 U.S.C. § 342{b).

t request relief in accordance with the chapter of title 11l United States Codel specilied in this petition.

| understand making a false statement concealing property, or obtaining money or property by fraud in connection
with a bankruptcy lose can result in tines up to $250.000. or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152. 1341, 1519, and 3571.

XCo&@Q/W

Signature of Debtor 1

Exeoutedon 2§§ ;§ J\O'\

MM IDD IYYYY

Vo|untary Petition for individuals Fillng for Bankruptcy

/\,-<G~ x
w

 

\/'_‘""~¢<"'___`

-..,_

Signature of Debtor 2

Executed on BQQ\ O\

MMl' DD IYY"(Y

page 6

Debmr 1 Carla A!m Mcjia Case number (rr.lmown;
Ftrsf Namo Mlddle Nome Last Name

|, the attorney for the debtor(s) named in this petition, declare that l have informed the debtor(s) about eligibility
to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Codel and have explained the relief
available under each chapter for which the person is eligib|e. l also certify that l have delivered to the debtor(s)
the notice required by 11 U.S.C. § 342(b) andl in a case in which § 707(b)(4)(D) applies. certify that l have no
lf you are l’lOf represented knowledge after an inquiry that the information in the schedules filed with the petition is incorrect

by an attomey, you do not

For your attomey, if you are
represented by one

 

 

 

 

 

 

need to file this page. x
Date
Signature of Attomey for Debtor MM l' DD t Y¥‘(Y
Printed name
Firm name
Nun'lber Street
City State ZlP Code
Contact phone Ema'l| address

 

 

Bar number State

Ofticia| Fon'n 101 Votuntary Petition for |ndividuats Filing for Bankruptcy page 7

Debtor 1 Carla Alm Mtjitl Case number (irlmoun)

 

 

Flrsf Namc M`lddle Naml bisle
For you if you are filing this The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy \‘\tiih°uf 311 should understand that many people find it extremely difficult to represent
attorney themselves successfully. Because bankruptcy has long-term financial and legal

consequences, you are strongly urged to hire a qualified attomey.
lf you are represented by
an an°mey’ you do not To be successful, you must correctly file and handle your bankruptcy case. The rules are very

need to me this page_ technical, and a mistake or inaction may affect your lights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
healing, or cooperate with the court, case trustee. U.S. trustee, bankruptcy administrator, or audit
linn if your case is selected for audit. lf that happens, you could lose your right to tile another
case. or you may lose protections including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to tile with the
court. Even ifyou plan to pay a particular debt outside of your bankmptcy, you must list that debt
in your schedules lf you do not list a debtl the debt may not be discharged |f you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or tying. lnd`lvidual bankruptcy
cases are randome audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

|f you decide to tile without an attomey. the court expects you to follow the rules as ifyou had
hired an attomey. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Codel the Federal Ru|es of
Bankmptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

ClNo

les

Are you aware that bankmptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

E|No

lois

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy fonns?

DNo

l:l Yes. Name of Person .
Attach Bankrl.lptcy Pelr'tr'on Preparer's Notr'ce, Dec!arab‘on, and Srgnafure (Otncial Fomi 11 9).

By signing here. l acknowledge that l understand the risks involved in filing without an attomey. l
have read and undersde this notice, and l am aware that filing a bankruptcy case without an
attorney may cause me to lose my rights or property if l do not properly handle the case.

X Co`§@ cows/es f;>W

Signature of Debtor 1 0 Signature of Debtcr 2

Date :M?h-z do ?W§ O\O\ Date O?W no lO`W£ 26 \O\

Contact phone <g\lil)g\\j\ 332-§ 233 Contact phone §'\(\ .Qd q\&$\g‘?jz*
Cell phone <5\,?) L\\L\ ?D?%'?) Cell phone 3\9) L’$\\ k'\. 3 25 2

Emollaooross CC\\ to ’l _\*€ XC\`K @ Emailaooross f(°\:\)"\<'€C\\/'vn @ VQO\

%i `C"‘ \ \ - CC/"""'_-
Ofticial Forrn 101 Vquntary Petition for lndividua|s Filing for Bankruptcy page 8

B 2018 (Form 201B) (12109)
UNITED STATES BANKRUPTCY COURT
WESTERN District of TEXAS

Mejia, Carla -and- Mejia, Robert
Debtor

In re Case No.

 

Chapter 7

CERTIFICATION or NoTICE To coNSUMER DEBToR(S)
UNDER § 342(h) oF TH:E BANKRUPTCY CoDE

Certification of [Non-Attorney] Bankruptcy Petition Preparer

I, the [non-attomey] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor the
attached notice, as required by § 342(b) of the Banlo'uptcy Code.

 

 

Printed name and title, if any, of Banlcruptcy Petition Preparer Sociai Security number (If the bankruptcy petition
Address: preparer is not an individual, state the Social Security
number of the ohicer, principal, responsible person, or
partner of the bankruptcy petition preparer.) (Required
X by ll U.S.C. § 110.)

Signature of Bankruptcy Petition Preparer or ofticer,
principal, responsible person, or partner whose Social
Security number is provided above.

Certiiication of the Dehtor

I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) ofthe Bankruptcy
Code.

ideas QQ/\<a weis veteraan ("@AQ@AC\/V\/ aha/yca

 

 

 

Printeti Name(s) of Debtor(s) Signature of Debtor date
CHS€ NO- (iflmowll) (235@\ *’_*WS--_- z/Zq/Z€\Cl
- Signaturc of.ioint Debtor (1f` any) Date

 

Instructions: Attach a copy of Forrn B 201A, Notice to Consurner Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the codification has
NOT been made on the Voluntary Petition, Ofticial Forrn Bl. Exhibit B on page 2 of Forrn Bl contains a certification by the
debtor’s attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy
petition preparers on page 3 of Forrn Bl also include this certification

rs 201A(1=0rm 201A)(11/12)

UNI'I`ED STATES BANKRUPTCY COURT

NOTICE TO CONSUIVIER DEBTOR(S) UNDER §342(b)

OF THE BANKRUPTCY CODE
In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer
dcbts: (1) Describes briefly the services available from credit counseling serviccs; (2) Dcscribcs briefly the
purposcs, benefits and costs ofthc four types of bankruptcy proceedings you may commence; and (3) Inf`orms you
about bankruptcy crimes and notifies you that thc Attorncy Generai may examine all information you supply in
connection with a bankruptcy case.

You are cautioned that bankruptcy law is complicated and not easily described Thus, you may wish to seek
the advice of an attorney to learn of your rights and responsibilities should you decide to file a petition. Court
employees cannot give you legal advicc.

Noticcs from the bankruptcy court arc sent to the mailing address you list on your bankruptcy pctition. ln
order to ensure that you receive information about events concerning your case, Bankruptcy Rulc 4002 requires that
you notify the court of any changes in your address. If you are filing a joint case (a single bankruptcy case for two
individuals married to each other), and each spouse lists the same mailing address on the bankruptcy pctition, you
and your spouse will generally receive a single copy of each notice mailed from the bankruptcy court in a jointly-
addrcsscd cnvelope, unless you file a statement with the court requesting that each spouse receive a separate copy of
all notices. '

1. Servicos Available from Credit Counseling Aacncies

_ With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file
for bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities
for credit counseling and provides assistance in performing a budget analysis The briefing must be given
within 180 days before the bankruptcy filing. The briefing may be provided individually or in a group (including
bricf`mgs conducted by telephone or on the Internet) and must be provided by a nonprofit budget and credit
counseling agency approved by the United States trustee or bankruptcy administrator. The clerk of the bankruptcy
court has a list that you may consult ofthe approved budget and credit counseling agencies Each debtor in a joint
case must complete the bricfing.

In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
management instructional course before he or she can receive a discharge The clerk also has a list of approved
financial management instructional courses. Each debtor in a joint case must complete the coursc.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

Chapter 7 ; Liquidation ($245 filing fee, $46 administrative fee, $15 trustee surcharge: Total fee $306)

Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing
debts. Debtors whose debts are primarily consumer debts arc subject to a “mcans tcst” designed to determine
whether the case should be permitted to proceed under chapter 7. If` your income is greater than thc median income
for your state of residence and family size, in some cascs, thc United States trustee (or bankruptcy administrator), the
trustce, or creditors have thc right to file a motion requesting that the court dismiss your case under § 707(b) of thc
Code. It is up to the court to decide whether the case should bc dismisscd.

Under chapter 7, you may claim certain of your property as exempt under governing law, A trustee may
have thc right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to
pay your creditors

The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are
found to have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny

Forrn B 201A, Notice to Consumer Debtor(s) Page 2

your discharge and, if it does, the purpose for which you filed the bankruptcy petition will be defeated

Even if` you receive a general discharge, some particular debts are not discharged under the law. Therefore,
you may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic
support and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations;
certain debts which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused
by operating a motor vehicle, vessel, or aircraft while intoxicated fi‘om alcohol or drugs. Also, if a creditor can prove
that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy
court may determine that the debt is not discharged

Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing
fee, $46 administrative fee: Total fee $281)

Chapter 13 is designed for individuals with regular income who would like to pay all or part of
their debts in installments over a period of time, You are only eligible for chapter 13 if your debts do not exceed
certain dollar amounts set forth in the Bankruptcy Code.

Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you
owe them, using your future earnings. The period allowed by the court to repay your debts may be three years or
five years, depending upon your income and other factors. The court must approve your plan before it can take
eff`ect.

After completing the payments under your plan, your debts are generally discharged except for domestic
support obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts
which are not properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury;
and certain long term secured obligations.

Chapter 11: Reorganization ($1,167 filing fee, $46 administrative fee: Total fee $1,213)

Chapter 1 l is designed for the reorganization of a business but is also available to consumer debtors. Its
provisions are quite complicated and any decision by an individual to file a chapter ll petition should be reviewed
with an attomey.

Chapter 12: Family Farmer or Fisherman ($200 filing fee, $46 administrative fee: Total fee $246)

Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time nom
future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those
whose income arises primarily fi'om a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimos and Availabilitv of Bankruptcy Paners to Law Enforcement Officials

A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty
of perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or
both. All information supplied by a debtor in connection with a bankruptcy case is subject to examination by the
Attorney General acting through the Office of` the United States Trustee, the Office of the United States Attorney,
and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
creditors, assets, liabilities income, expenses and general financial condition Your bankruptcy case may be dismissed if
this information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and
the local rules of the court. The documents and the deadlines for filing them are listed on Forrn BZ{)O, which is posted at

Falt in this information to identity your case

neb/mr 1 Cal‘la Ann Mcjia

Fist blame kidde Name Lls\ blame

Debiorz Rohert Meiia

(Spouse, if tlHng) Fm mm wade blame Lm Nama

United Statec Bankruptcy Court for ther WES'I`ERN District of TEXAS

 

case number 1:| Check if this is an
""°‘°"“l amended li|ing

Oflicial Forrn 106Sum

Summary of Your Assets and Liabilities and Certain Statistical lnformation 12115
Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct

information. Fill out all ofyour schedules lirst; then complete the information on this folm. lf you are filing amended schedules after you tile
your original forms. you must Ell out a new Summary and check the box at the top of this page.

m Snmmarize Your Asset¢

 

Your assets
Va|ue ofwhat you own
1. Schedule A/B: Properly (Oflicia| Fonn 106AIB)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1a copy line 55, rural real eeiaie, from schedule A/B $ M
1b. Copy line 62, Total personal property, from ScheduleA/B... s 3605
1a Copy line 63, To‘la| of all property on Schedule A/B ................................ $ 133605
Summalize Your Liabilities
your liabilities
Amount you owe
2. Schedule D: Credilurs Who Have Claims Secuted by Properly (Ol'lieial Form 106D)
2a Copy the total you listed ln Column A, Amount ofclaim, at the bottom of the last page of Parl 1 of Schedule D............ $ 1 7751
3. Schedule E/F: Creditors Who Have Unsecured Clal'ms (Ofliclal Fonn 106ElF}
aa_ copy me rural claims imm Parl 1 (prierlly unsecured eleims) from line se er schedule E)F ............................................ s 635”
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F ....................................... + $ 317706
Yeurtotal liabilities s 521307
m Summarlze Your lncome and Expenses
4. Schedule l: Yourlncome (Ollicia| Fonn 106|)
Copy your combined monthly income from line 12 of Sohedule l . 5 4420
5. Schedule J: Your Expenses (Oflieia| Forrn 106J)
Copy your monthly expenses from line 22c of Schedul'e J . $ 6250

 

Olliclal Fonn 1068um Summary of Your Assets and liabilities and Certain Statistica| lnformalion page 1 of 2

Debtor‘l Cal’la Alln Mejitl Case number (rrknown)

 

Fhl Nnme kidde Nllme Lnt Narne

m Ansvlrer These Questions for Administrative and Sbltist:ical Records

6. Are you filing for bankruptcy under Chaptors 7, 11, or 13?

E\Io. You have nothing to report on this part of the fonn. Check this box and submit this foxm to the court with your other schedules
1/ yes

 

7_ What kind of debt do you have?

g Your debts are primarily consumer debts. Consumerdebts are those “incun'ecl by an individual primarily for a persona|,
family, or household purpose.” 11 U.S.C. § 101(8). Fil| outlines 8-99 for statistical purposes 28 U.S.C. § 159.

m Your debts are not primarily consumer debts. You have nothing to report on this part of the form Check this box and submit
this form to the court with your other schedules ‘

 

a. From the Suternent of Your Current Month!y lncome: Copy your total cunent monthly income from Ottioia|
Fonn 122A-1 Line 11; OR, Fonn 1223 Line11; OR, Fonn 1220-1 Line14. 5 5800

 

 

 

9. Copy the following special categories of claims from Part 4, line 5 of Schedu!e EJ'F.

 

Tota| claim
From Part4 on Sl:hedu.le E/F, copy the following:
9a. Domestic support obligations (Copy line Sa.) $ 0
9b. Taxes and certain other debts you owe the government (Copy line 6h_) $ 359
9a C|aims for death or personal injury while you were intoxicated (Copy line 6c.) $ 0
9d. Student loans. (Copy line 6f.) $ 229562
9e. Ot_:|igations arising out_ of a separation agreement or divorce that you did not report as $ q
pnonty clarms. (Copy line Bg.)
9f. Debts to pension or protit-shan'ng plans, and other similar debts. (Copy line 6h_) + $ 0
Qg. Tota|_ Add lines 9a through Qf. s 229912

 

 

 

Oflicial Fonn 1063um Summary of Your Assefs and liabilities and Cortain Statisl:icat ln'tonnation page 2 of 2

 

Fi|l in this information to identify your case and this filing

 

 

Debtor 1 Ca\'la Ann Mcj ia

Fnt Nnrr\e kidde N.nmie Lant Nune
mem z Robcrt Mcjia
(Spoum, if liling) Fim Nonte made Nii¢no Lat wine

united states Bankruptcy court for rtre.- WESTERN oieiriot of TEXAS

Case number

 

m Check ifthis is an

 

Ofticial Form 106AlB

 

amended filing

Schedule AIB: Property tons

 

|n each category, separately list and describe items. List an asset only once. lf an asset fits in more than one category, list the asset in the
category where you think ittils best Be as complete and accurate as possibte. lf two married people are ti!ing together, both are equal{y
responsin for supplying correct infomiation. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question

Part 1: Describe Each Residence, Building, Land, or Other Real Est:ate You O\i\rn or l'la\re an lntel'e$t In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

n No. Go to Part 2.
m Yes. Where is the property?

1_1_ Home 4 Bedroom Single Family
Street address if availabler or other description

Loc: Valrico, Florida

 

 

C`ifY

Stale

ZlP Code

 

|f you own or have more than one, list here:

1.2.

 

Street address if available, or other description

 

 

Cily

Sta‘l:e

ZlP Code

 

County

Oflici'al Forrn 106NB

what '5 the Pr°perly? check all that app'y' Do not deduct secured claims or exemptions Pi.rt

m Single-family horne the amount of any secured claims on Sc.*iedule D:
n Dup|ex or multi_un.[t building Credtor's Who Have Ci'aims Seouredby Property.

 

n C°"d°m'mium °r cooperative Cun‘ent value of the Current value of the
Cl Mal'iufaotured or mobile home entire property? portion you own‘?
m l-and s 130000 s 130000

l:l investment property

[| T,mesha,e Describe the nature of your ownership

n Omer interest {such as fee simple, tenancy by

 

the entiretiesl or a life estate), if known.
llll'ho has an interest in the property? Cheok one.

 

Fee Simple
n De‘otor1 only
|] Debror 2 only
m Debtor.| and neb/cor 2 only m Check ifthis is community property

\;l At least orie of lite debtors and another (See mslmcu°"$)

Other information you wish to add about this item, such as local
property identification number: ya|n'm E|mjda

Whatis die property? Check ali matapply. no not dedude daij or wmpums. Put

cl Sing|e-family home the amount of any secured claims on Scheduile D.'
n Duplex or multi_Un.[t building Creoitors Who Have Ci'alms Seouredby Property.

 

 

 

n COH¢`-‘Ominlum Ol' OOOPBFSEVG Currorit 1ralue ofthe Current value of the
l:l Manutactured or mobile horne entire property? portion you own?
n t_and $ 5

l;l lnvestment property _ _
E' “'“e‘~“‘""e R$Y$§h":§"t'§;fi§f}i§,°t::§§:"§y
cl 0""9' the entireties, ora life estate), ifknoiiiim.
Who has an interest in the property? check one.

El oebtor 1 only

n Debtor 2 only

n D€biof 1 and D€MO\’Z 0an n Check if this is community property
[:l At least one of the debtors and another (S€e insWCu°n-"=)

Other information you wish to add about this item, such as local
property identitication number:

 

Schedute NB: Property page 1

Carla Ann
Fllst Nnme

Debtor 1 Mejia

Midde blame Last Name

1 .3.
Street addressl ii available. or other description

 

 

 

City State ZlP Code

 

County

2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
you have attached for Part 1. Write that number here. ...................................................................................... -)

mbescrihe Your Vehicles

What is the property? Check ali that appiy.
n Singie-famiiy home

n Duplex or muiti-urlit building

n Condominium or cooperative

n Manufactured or mobile horne

Cl Land

m investment property

El Tlmool-iare

El Other

 

Who has an interest in the property? Check orle_
m Debtor 1 only

E] Debtor 2 only

El Dobior 1 and Dobtor 2 only

i:l At least one of the debtors and another

Case number (rriownl

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Scheduie D:
Credi!ors Who Have Cial'ms Secured by Property.

Current value ofthe Current value of the
entire property? portion you own?

$ $
Describe the nature of your ownership

interest (suoh as fee simple, tenancy by
the entireties, or a life estate), if known.

 

E] Check if this is community property
(see insisuciions}

Other information you wish to add about this item, such as local

property identification number:

 

 

$ 130000

 

 

 

Do you own, iease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles
you own that someone else drives. if you lease a vehicle, also report lion Scheduie G: Executory Contracfs and Unexp.ired Leases_

3. Cars, vans, uucks, tractors, sport utility vehicles motorcycles

L_..l No
la Yes
3.1_ Make: Hyundai
Mode[, Elantra
Year 2015
13500{]

Approximato mileage:
Other information:
2015 Hyndai Elantra

if you own or have more than one, describe here:

3_2_ Make:
Model:
Yeal*.
Approximate mileage:

Other inforrnation:

Oliiciai Forrn 106NB

Who has an interest irl the property? Check one.
El Debtor 1 only

n Debtor 2 only

m Debior1 and Dobtor 2 only

n At least one of the debtors and another

a Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
n Debf.or 1 only

n Debfor 2 only

El Dobior1 and Debior 2 only

m At least one of the debtors and another

n Check if this is community property (see
instructions)

Schedu|e AiB: Property

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Scheduie D:
Creditois Who Have Ci'ai`ms Secured by property

Current value of the Current value of the
entire property? portion you own?

s 500 $ 500

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Ciaims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

page 2

 

Who has an interest in the property? Check one.

Demom Carla Ann Mejia
F'l'lsiName m Name laan
3,3_ Make:
Modol- El oeblor1 only
Yeal_ l_l oebcorz only

Approximate mileage:
Other information:

3_4, Make:
Mode|:
Year.
Appl'oximate mileage:

Other inforrnation:

Cl Deblor 1 and oeblorz only
[.] At least one of the debtors and another

El Check if this is community property (see
instructions)

Who has an interest in the property? Cheok one.

n Debtor 1 only

n Debtor 2 only

El ooblor 1 and oebtorz only

L_.l At least one of the debtors and another

Cl Check if this is community property (see
instructional

Case number (irlmonn)

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Crediiors Wno Have Clar'ms Secured b y Property.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions Put
the amounth any secured claims on Schedule D.'
Credr`tors who Have Claims Secured by Hoperty.

Current value of the Current value of the
entire property? portion you cwn?

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories

Evamples: Boats, trailers, motors, personal watercraft, fishing vesse|s, snowmobiles, motorcycle accessories

m No
n Yes

4_1_ Make:
Model:
Year'.

Other infolrnaflon:

|f you own or have more than one, list here:

4_2_ Make:
Mode|:
Year:

Other infolrnation:

Who has an interest in the property? Cheol< one_
El oebtor1 only

El oeblor 2 only

El ooblor 1 and oebtor 2 only

n At least one of the debtors and another

El Check ifthis is community property (see
instructions)

Who has an interest in the property? Check one.
n Debtor‘l only

m Debtor 2 only

n Debtor 1 and Debtor2 only

m At least one of the debtors and another

[:l Check ifthis is community property (see
instmctions)

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedu.fe D:
Credr'tors lMlo Have Cial'ms Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Scheduie D:
Cr'edr`l.*ors Who Have C.lal'ms Secured by Properiy.

Current value ofthe Current value of the
entire property? portion you own?

5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages

500
you have attached for Part 2. Write that number here -)

 

Oflicial Fonn 106NB Schedule A!B: Property page 3

mwa Carla Ann Mcjia

FIst Name Midlie Name l.asl Namo

Case number (rrlolownl

 

Describe Your Persorlal and l~lousehold ltems

 

Do you own or have any legal or equitable interest in any of die following items?

6. Household goods and furnishings
Examples: Maior appliances, fumitune, linens, chlna, kitchenware
El No
m Yes- Desc'ibe- Personal Property And Assests » 239 Center Street #363

7. E|ectronics

Examples: Televisions and radios; audio, video, stereo, and digital equipment computers, printers, scannels; music
collections; electronic devices including cell phonesl cameras, media players, games

|:l No
m Yes' Desuibe""""" Tv, Phones And Sound - 239 Center Street #363

3. Co||ecdth of value

Examples: Anliques and tigun'nes; palntings, prints, or other artwork; books, pictures, or other art objects;
Stamp, coln, or baseball card collections; other collections, memoralbilial collectibles

m No
L..l Yes. Describe..........

9, Equipment for sports and hohbias

Examples: Sports, photographic exercise, and other hobby equipment bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments
h No

i:l ‘(es. Describe ..........

tlJ. Fiream'ls

Examples: Pistols, rifles, shotguns, ammunition, and related equipment
m No
Ll ¥es. Descn'be ..........

11.Clothes
Examples: Everyday clothes. furs, leather coats, designer wear, shoes. accessories

13 No
m Yes' Des°'ibe""~"~~~ Clothing - 239 Center Street #363

12. Jewelry

Examp|es: Everydayjewelry, costume jewelry, engagement n'ngs, wedding lings, heidoom jewelry. watches, gems,
gold, silver

l;l No `
m Yes. Describe........... Jewlery s 239 Center Street #363

13. Non-farm animals
Examples: Dogs, cats, birds, horses
il No

El ¥es. Describe ...........

14.Any other personal and household items you did not already list, including any health aids you did not list

mNo

in Yes. Give specitic
infonnation. ..............

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
for Part 3. Write that number here

Offlcial Fonn 106A!B Schedule AIB: Froperty

Current value of the
portion you own?

Do nct deduct secured claims
cr exemptions

5500

$ 1000

$ 1000

 

s 2300

 

 

page 4

 

Debwr 1 Carla Arm Mejia Case number (rrwwn)

 

 

 

 

 

 

 

 

 

 

 

 

 

Flrst Name I.¥dde Name l.ast Na:ne
m Describe ¥our Financial Assets
Do you own or have any legal or equitable interest in any of the following? current Val"° of the
' portion you ovlrn?
Do not deduct secured claims
or exemptions
16. Cash
Exampl'es: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you tile your petition
Cl No
m Ye$ ------ -- casn- ....................... $ 25
17. Deposits of money
Examples: Checking, savings, or other financial accoun!s; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions lf you have multiple accounts with the same institution, list each.
il No
cl yes ..................... lnslitution name:
1?.1. Checklng account $
17.2. Checklng account $
17.3_ Savings account $
17.4. Savings account $
17.5. Certilicates of deposit $
17_6. Other tinancial account $
1'.'_?. Other financial account $
17_8. Ol;her linancial account $
17.9. Other linancial account 5
18. Bonds, mutual funds, or publicly traded stocks
Examples: Boncl funds, investment accounts with brokerage tinns, money market accounts
Cl No
a Yes ................. lnstitulion or issuer name:
Irlvestment Account - Stash Investment Aecount 5 280

 

 

 

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLCl partnership, and joint venture

 

 

m No Name of entity: % of ownership:
n Yes. Give specific %
information about
them %
%

 

Oiticial Form 106A!B Schedule Al'B: Property page 5

Debtor 1

Flst Name

Car|a Ann

Mejia

Last Name

Ca$e number (irrmwnl
Midclc Narne

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negoriable instruments include personal checks, cashiers’ checks, promissory notes. and money orders
litton-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

q No
El Yes. Give specilic

information about
them .......................

issuer name:

 

 

 

21. Retinement or pension accounts
Examples: interests in |RA, ER|SA, Keogh, 401(k), 403([)), thrift savings accounts. or other pension or profit-sharing plans

gNo

l:l Yes. List each

account separafe|y. Type of account

|nstitution name:

401(l<) or similar plan:

 

Pension plan:

 

lRA:

 

Retiremenl account

Keogh:

 

Addiiional account

 

Add'ltional account

 

` 22.Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Exampl'es: Agreements with landlordsl prepaid rent, public utilities (electlic, gas. water), telecommunications

companies, or others

m No
n Yes ..........................

lnsl'.imtion name or individual:
Electric:

 

Gas:

 

Healing oi|:

 

Seculity deposit on rental unit:

 

Prepaid rent

 

Telephone:

 

Water:

 

Rented fumiture:

 

O'then

 

23.Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

mNo

El Yes ..........................

Oificial Fonn 106NB

issuer name and description:

 

 

Schedule AIB: Property

€B'€¢|€B£H€~}€H€Fl

9$€069$€9€69969

page 6

Debmm Carla Aon Mejia

Case number uriner
F¢st Name bidder Nama Last Name

 

24. lnterests in an education lRA, in an account in a qualitied ABLE program, or under a qualitied state tuition program
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

@No

n Yes """"""""""""""""""" |nstitution name and descriptionl Separately tile the records of any interests.11 U.S.C. § 521 (c):

 

 

25.Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benelit

mNo

\:l ¥es. Give specilic
information about them.... $

26. Patenls, copyrights trademarks trade secrets, and other intellectual property
Examples: |ntemet domain names, websites, proceeds from royalties and licensing agreements

ll No

El Yes. Give specific
information about them.... $

27. Licenses, franchiscs, and other general intangibles
Examples: Bui|ding pennits, exclusive licenses, cooperative association holdings, liquor |rcenses professional licenses

rlZlNo

El Yes. Give specific
information about them.... $

Money or property owed to you? Current value of the

portion you own?
Do not deduct secured
claims or exemptions

28. Tax refunds owed to you

mNc

El Yes. Give specitic information

F |: '
about them. including whether edera $
you already liled the returns State: $
and the tax years. ....................... mh $

29. Family support
Examples: Past due or lump sum alimony, spousal supportl child support, maintenanoe, divorce settlement property settlement

@No

m Yes. Give specitic information ..............

Alirnony: $
Maintenance: $
Suppcrt $
Divorce settlement $
Propedy semement' $
30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments disability benefits, sick pay, vacation pay, workers’ compensation,
Sccia| Security benelits; unpaid loans you made to someone else
m No
m Yes. Give specilic information ...............

Ofticial Form 106AIB Schedu|e Ale Property page 7

new 1 Ctll‘la AIm M€jia Case number nimmer
Fn'st Narr\a Midclc Name l.asthtame

 

31. interests in insurance policies
Exampies' Health, disability, or life insurance; health savings account (HSA); credit, hcmeowner‘s, or renter’s insurance

@No

l:l Yes. Narne the insurance company

_ _ _ Company name: Beneticiary: Sunender or refund vatue:
of each policy and list its value.

$

 

 

32. Any interest in property that is due you from someone who has died

|f you are the beneficiary of a living trust, expect proceeds from a lite insurance policy, or are currently entitled to receive
property because someone has died.

~E}No

L_..l Yes. Give specific information ..............

33. C|aims against third parties, whether or not you have filed a lawsuit cr made a demand for payment
Exarrrpies: Accidents, employment disputes, insurance claims, cr rights to sue

mNo

El \’es. Describe each claim. ....................

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

mNc

ij Yes. Describe each claim. ....................

35.Any financial assets you did not already list

mNo

cl Yes. Give specific information ............

 

36. Add the dollar value ofaIl of your entries from Part 4, including any entries for pages you have attached 305
for Part 4. Write that number here -) $

 

 

 

Describe Any Business-Related Property You Own or Have an interest ln.. List: any real estate in Part 1.

 

37.Do you own or have any legal or equitable interest in any business-related property?
m No. Go to Part 6.
n Yes. Go to line 38.

Current value of the
portion you own?

Do not deduct secured claims
or exemptions
38.Accounts receivable or commissions you already earned
m No
C| Yes. Describe .......
$
39. Ottice equipment fumishings, and supplies
Examples: Business-related computersr sottv\mre, rnodemsr printers, oopiers, fax machinesl rugs, telephones desks. chairs. electronic devices
m No '
m Yes. Describe ....... s

Oliicia| Forrn 106AIB Schedule NB: Property page 8

Demom Carla Ann Mejia

Case number prmmi
F'lrctN~ame Midde Name LastName

 

40.Machinery, tixtllres, equipment, supplies you use in business, and tools of your trade

 

 

 

 

 

 

 

 

 

 

in No
l:l Yes. Describe ....... $
41. lnventory
No
Ei ¥es. Describe ....... $
42. lnterests in partnerships orjoint ventures
§ No
a Yes' Des°'ibe """" Name of entity % of cwnership:
% $
% $
% $
43.Customer lists, mailing lists, or other compilations
No
|:l Yes. Do your lists include personally identifiable information {as detined in 11 U.S.C. § 101 (41A))?
Cl No
El Yes. Describe ........
$
44.Any business-related property you did not already list
NO
m Yes. Give specitic 5
information .........
$
$
$
$
$
45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached $ 0
for Part 5. Write that number here ')

 

 

 

 

Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Ovlm or Have an lntere$t ln.
lf you own or have an inteer in fannland, list it in Part 1.

 

46. Do you own or have any legal or equitable interest in any fann- or commercial lishing-related property?
No. Go to Part 7.
El ¥es. Go to line 47.

Current value of the
portion you own?
Do not deduct secured claims
or exemptions
47. Fami animals

Examples: l_ivestocl<, poultry, fann-raised rish

m No

cl Yes ..........................

$

Ofiiciai Forrn 106AIB Schedule A.lB: Property page 9

Debtor 1 carla Alm Mejia Case number ama

 

Fust Nerne kidde Name Lss‘l Name

48.Crops--either growing or harvested

UNo

L:l Yes. Give specitic

 

 

 

 

 

 

 

 

 

 

 

 

 

 

information ............ $
49.Farm and fishing equipment, implemenls, machinery, fixtures and tools of trade
m No
l:l ¥es ..........................
$
50.Farm and tishing supplies, chemica|s, and feed
m No
El Yes ..........................
$
51.Any farm- and commercial fishing-related property you did not already list
m No
El Yes. Give specific
information ............ $
52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $ 0
for Part s. write that number here ...... -)
Describe All property You Own or Have an interest in That You Did Not List Above
53. Do you have other property of any kind you did not already list?
Examp.les: Season ticketsl country ctub membership
m No
l;l ¥es. Give specific
information ............ $
54.Add the dollar value of all of your entries from Part 7. Write that number here ................................................................. 9 $ o
List the Totals of Each Part of this Forrn
55. Part 1: Total real eswte, line 2 ') $ 1
ee. Part 2: rural vehiclee, line 5 $ 500
. . 2800
sr_Part 3: Total personal and household iwms, ime 15 $
. . 305
58. Part 4: Tolz| financial assets, line 36 $
59. Part 5: Total business-related property, line 45 $ 0
eo. Part sr Teral farm- and timing-related preperiy, line 52 $ 0
si.Pari 1: reel ether property net lieied, line 54 + 5 0
62.Tota| personal property. Add lines 56 through 61. .................... $ 3605 Copy personal property total ') + $ 3605
es.‘rewl or all property en schedule Ale. Add line 55 + line 62. s 1336"5

 

 

 

 

O‘fticia| Fonn 106NB Schedule AIB: Property page 10

Fi|| iri this information to identify your case:

Debtar 1 Carla Ann Mejia
F'nt flame |¢lidrle Name l.a:t Nlme

oebior 2 Robert Mcjia
(Spouse, iitiling] mr Name tiidee mine tea mine

united states Bankrupiey ceuii ier inez M oieiriei er TEXAS

case number E] cheek ii this le an
('"‘"°“'") amended filing

 

 

 

Oflicia| Forrn 1060
Schedule C: The Property ‘(ou Claim as Exempt ems

Be as complete and accurate as possible |f two married people are filing together, both are equally responsible for supplying correct information

Using the property you listed on Schedule A/B: Properiy (Oliicial Fonn 106NB) as your source, list the property that you claim as exempt lf more
space is neectei:ir till out and attach to this page as many copies of Part 2: Addr'fr`onal Page as neoessary. On the top of any additional pages, write
your name and case number {if known).

For each item of property you claim as exempt you must specify the amount ofthe exemption you claim. One way of doing so is to state a
specific dollar amount as exempt A|tematively, you may claim the full fair market value of the property being exempted up to die amount
of any applicable statutory limit. Some exempdons-such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds-may be unlimited in dollar amount However, ifyou claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount

ldentify the Property Yor.l Claim as Exempt

1 . Which set of exemptions are you claiming? Check one only, even ifyourspouse r's filing with you,

Cl You are claiming state and federal nonbankruptcy exemptions 11 U.S.C. § 522(!))(3)
Cl You are claiming federal exemptions 11 U.S.C. § 522(|3)(2)

2. For any property you list on S¢:heduie A/B that you claim as exempt, fill in the information beloilv.

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Schedule AIB that lists this property portion you own
Copy the value from Cner:k only one box for each exemption
Schedule A/B
Bn_ef 2015 Hyndai Elantra Property 42.001, 42.002;
description: $ 500 n $
Line from m 100% affair market value, up to
Schedu;e AIB_, any applicable statutory limit
Brief Home 4 Bcdroom Singlc
- Ei:emzi:bdl.tt!tl,sl.§lln;___
description: Fam"v $ 130000 n $
Line from m 100% affair market value, up to
Schedu,e A/B_. any applicable statutory limit
. Personal Property And
Brief 500 EmpernrAzMLAZMz;__
description As'“`$ts_ $ n $
Line from m 100% of fair market value, up to
Schedu,e A/B_. any applicable Statutol'y limit

 

3. Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4101}19 and every 3 years after that for cases tiled on or alter the date of adjustment.)
m No
n Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
l:l No
l:l Yes

Ofticia| Fonn 106C Schedu|e C: The Property ‘(ou Claim as Exempt page 1 of _,_z)

Debtor1 Carla Aon ngia

F`nt Name

Midde Na.me last Name

Additional Fage

Brief description of the property and line
on Schedul'e A/B that lists this property

Brief
description:
Line from
Scheduie A/B:
Brief
description:
Line from
Schedule A/B:

Brief
description:
Line from
Schedu!e A/B:

Brief
description:
Line from
Schedul'e A/B:
Brief
description:
Line from
Schedule A/B:

Brief
description:
Line from
Schedule A/B:

Brief
description:
Line from
Schedule A/B:
Brief
description:

l.ine from
Scheduie A/B:

Brief
description:
Line from
Schedu.'e A/B:

Brief
description:

Line from
Schedule A./B:

Brief
description:

Line from
Schedule A/B:

Brief
description:

Line from
Schedule A/B.‘

Oflicial Forrn 1060

Clothing

 

chlery

'l`v, Phones And Sound

Case number prmmi

Current value of the Amount of the exemption you claim Specitic laws that allow exemption
portion you own

Copy the value from Check only one box foreach exemption
Schedul'e A./B

5 300 g $ Property 42.001, 42.002;

 

100% of fair market value, up to
any applicable statutory limit

 

 

£mpsdyAZ.!)D.l.-_‘RJMZ:_
$1000 l:l$

m 100% of fair market value, up to
any applicable statutory limit

 

 

 

Property 42.001, 42.0{|2;

 

s 1000 us

51 1000/o of fair market value, up to
any applicable statutory limit

 

 

 

 

$ El$

l;l 100% of fair market value, up to
any applicable statutory limit

 

 

 

 

s Els

l:l 100% of fair market value, up to
any applicable statutory limit

 

 

 

 

$ l'_`l$

[:l 100% of fair market value, up to
any applicable statutory limit

 

 

 

 

s L'.l$

l:l 100% of fair market value, up to
any applicable statutory limit

 

 

 

 

$ Cl$

l;l 100% of fair market value, up to
any applicable statutory limit

 

 

 

 

$ Els

El 100% affair market value, up to
any applicable statutory limit

 

 

 

 

$ El$

m 100% of fair market value, up to
any applicable statutory limit

 

 

 

 

s El$

[:] 100% of fair market value, up to
any applicable statutory limit

 

 

 

 

s L`.l$

l:l 100% of fair market value. up to
any applicable statutory limit

 

 

 

Schedule C; The Property You Claim as Exempt page g of_g

Frll in this information to identity your case:

Debwr 1 Carla Me]ta

 

Flst Narnc Llst Name
Debtm_ 2 Robert Mcjia

 

(Spouse, if ti|irlg) Frst Nam= nude same La¢rNama

united ames Bankruptcy conn rar inez WESTERN Disuia or TEXAS

 

 

 

 

‘Y§‘?$r'"be' El check ifthis is an
amended filing

Ofticia| Forrn 106D

Schedule D: Creditors Who Have C|aims Secured by Property 12115

 

Be as complete and accurate as possibte. |f two married people are filing together, both are equally responsible for supplying correct
information lf more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this fonn. On the top of any

additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?

E] No. Check this box and submit this form to the court with your other schedules You have nothing etse to report on this fon'n.

Ul Yes, Fi|l in all of the information below.

List All secured claims

2. List all secured claims- lf a creditor has more than one secured claim, list the creditor separately
for each claim. |f more than one creditor has a particular claim, list the other creditors in Part 2.
As much as possible, list the claims in alphabetical order according to the creditor’s name.

Citihank Na As Trustee For Cwa

 

 

 

 

Describe the property that secures the claim:

Column A Column B Col'umn C
Amount of claim Value of collateral Unsecured

oonocaadu¢rme tha_f Supporv=this portion
value arwllalerai. claim lrany

$ ]§5||§[|| $ IIEL{I§CI $_M__._._

c ditar N .
re s am _ Home 4 Bedroom Single Famlly

Robertson, Anshutz, & Schnerd

Nulnber Slreel

6409 Con regs Ave Suite 100 As of the date you file, the claim ls: Check all that appty.

g a Contlngent

Boca Raton FL 33487 D unliquidated

city slate zlP code n Disputed
Who owes the debt? Cheok one. Nature of lien. check all that apply.
n Dehf°l' 1 omit m An agreementyou made (such as mortgage or secured
n Debtor 2 only Car l°an)

q Debitor 1 and Debtor 2 only
n At least one of the debtors and another

Cl check ifthis claim relates w a
comm unity debt

 

 

 

 

n Statutory lien (such as tax lien, mechanic’s lien)
cl Judgment lien from a lawsuit
cl Other Grlcluding a rightto offset) M°rtgage

 

Date debtvvas incurred 1 Last 4 digits of account number __:,_6_22__ "___ ___
&2-1 Exete" Fi“a"¢e me Describe the property that secures the claim: s 16151 s 500 $ 15651
creditor N
5 m 2015 Hyndai Eianrra

Po Box 166097

Nurrlber Street
As of the date you file, the claim is: Check all thatapply_
l:l Contingent

Irving TX 75016 Cl unliquidated

city arena zlP code m oisputed

Who owes the debt? Check one.

El barrier 1 only
cl Deblor 2 only car loan)
n Debtor 1 and Debtorz only

m At least one of the debtors and another

El check ifthis claim names w a
community debt
2015

Date dehtvvas incurred

Add the dollar value of your entries in Column A on this page. Wrilie that number here:

Oiiicial Fonn 1060

Nature of lien. Check all that apply.
§ An agreement you made (such as mortgage or secured

0
Last4 digits of account number_

Schedu|e D: Creditors Who Have C|aims Secured by Property

[:l Statutory lien (such as tax lien, mechanics lien)
ij .Iudgment lien from a lawsuit
|Il other unloading a right to arisen

Auto Loan

240

li_;m_w~;|
page1 of g

 

 

 

 

 

 

 

 

 

 

 

 

|:|

 

 

 

 

n Debllor 'l only

Cl Debtor 2 only

a Debtor 1 and Debtor 2 only

El At redstone or the debtors and another

l;l Check ifthis claim relates to a
community debt

Date debt was incurred

 

 

 

Nature of lien. Cheok all that apply.

m An agreement you nude {such as mortgage or secured
car loan)

n Shntutory lien (such as tax |ien, mechanids |ien)

n Judgment lien from a lawsuit

El other @neluding a nghtta arisen

Last4 digits of account number___

Add the dollar value of your entries in Co|umn A on this page. erte that number here: s 1660£|

lf this is the last page of your form, add the dollar value totals from all pages.

Write that number here:
Oliicial Fonn 106D

ls 197751

 

Additional Page of Schedule D: Creditors Who Have C|aims Secured by Property

Deblor 1 Carla Am] Mejia Case number rrhrawnl
FntName kidde Name Lalrt Nam¢
Mditi°nal page AC:umntA f l ' (\:Io!l!mn? ll t l goff-mn Cd
. . . . . . . onocam aueo co aela nsecure
After llsbrtg any entries on this page, number them beglnnlng wlth 2.3, followed DD nc: deduct mla that supports this portion
by 2-4» and 5° f°’"'- value ofmllatetai. claim if any
J¢ffer$°'l ClPifa| Sysf¢ms oeneribe the property that secures the elaim: s 15000 s 500 s 14500
Credttors Name
16 Mcleland Road Personal Property Aod Asscsts
Nurnber Streel
As ofthe date you filel the claim is: Check ali that apply.
saint cloud MN 56303 9 C°nv'n§¢ni
city slate zip cada El unliquidated
Ei nieputed
Wh° OW€S the debf? Chwk °"f-‘- Nature ot lien_ check all that apply.
-- Debi°l' 1 Ol'liy n An agreement you made (such as mortgage or secured
El Debtor 2 only car ioan)
n gebwr 1 and Demor 2 amy l:l Statutory lien (such astax lien, mechanic's lien)
Cl At least one of the debtors and another a Judgmef\t lien from a lawsuit
El other @nduding a right to arisen J“dgemenf
n Check ifthis claim relates to a
community debt
_ 2009 _ _ 621‘7
Date debt ams incurred l_ast 4 dlgrls of account number_ _ __ _
Tr°adway”°nt°n P"° Describe the property that secures the claim: $ 1600 $ 130000 $ 0
Creditor‘s Name
1111 Avenida net Cirm Homc 4 Bcdroom Smglc Famtly
Number street
Suite B As of the date you file, the claim is: Check all that apply.
a Conlingent
Venice FL 34285 El unliquidated
city slate zlP cede n Dispuled
who ms the deht? Che°k one` Nature cf lien. Check all that apply.
n Debton amy cl An agreement you made (such as mortgage or secured
El center 2 only ear loan)
id De|:tor t and Debtor 2 only 13 Statutory lien (such as tax lien, mechanics lien)
L.l At least one of the debtors and another a Judgrnent lien from a lawsuit
- - Homc Owners Dueti
m Check if this claim relates to a n cum cmdudmg a nghu° men ____
community debt
Date debtvvas incurred 2013 Last4 digits of account number_§_s_?c__ _ __
Describe the property that secures the claim: $ 5 $
Cred'rlor‘s Narne
Nurraer street
As of the date you file, the claim is: Check all that apply.
m Contingent
gay slate zlP code L_.l unliquidated
El oisputed
Who owes the debt? Check one.

Pa§e 23 Of_g)

Fi|| tn this information to identify your case

Carla

oebior 1 A'm M°jia

 

Flrst Nlrrte
oeotorz R°b°"*
{spouoe, ii lilinq) mt mine

Midcle Name least N¢lne

Mejia

|iddc three l_zst Name

united states Bankruptcy court rorthe: WESTERN oietriot or TEXAS

Case number
(lf tinann)

 

 

 

Ofl`lcia| Form 106E/F

 

Schedule EIF: Creditors Who Have Unsecured C|aims

Be as complete and accurate as possible. Use Part 1 for creditors with PR|OR|T¥ claims and Part 2 for crediton with NONPR|ORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property(Otticial Forrn 106NB) and on Schedule G: Executory Contiacts and Unexpr‘red Leases (Oflicial Fonn 1066). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. |f more space is
needed, copy the Part you need. tilt it out, number the entries in the boxes on ute teft. Attach the Continualion Page to this pago. On the top of
any additional pages, write your name and case number (if known).

m Lis'l: All of Your FRIORI'I'Y Unsecured C|aims

1.

Cl

Check if this is an
amended lillng

12{15

 

Do any creditors have priority unsecured claims against you?

l:l No. Go to Part 2.
Yes.

List ali ofyour priority unsecured claims. lf a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
each claim listed, identify what type of claim it is. lf a claim has both priority and nonpiioiity amounts, list that claim here and show both pn`on‘ty and
nonpiiolity amounts As much as possib|e, list the claims in alphabetical order according to the creditors name. if you have more than two priority
unsecured claims, till out the Conlinuation Page of Part 1. lf more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

 

2.1

 

 

Irs

 

E|

Oflicia| Fonn 106E!F

Priorily Cred'itors Name

Irs

Number Sl.reet

 

Kallsas City MO 64999-0202
City Slale
Who incurred the debt? Check one.
El oebtor 1 only

E| oebtorz only

o Debtor ‘l and Deblorz only

l:l At least one of the debtors and another

m Check ifthis claim is fora community debt

ZlP Code

ls the claim subject to offset?
g No

n ‘(es

Statc Of Ftorida

Priority creditors Nerne

Dept. Of Children And Families
Number Street

Po Box 1770
Ocala FL 34478

 

City Sta!e

Who incurred the debt? Check one.

m Debtor1 only

n Debtor2 only

n Debtor1 and Debtor2 only

El At least one ofthe debtors and another

n Check ifthis claim is for a community debt

ZlP Code

ls the claim subject to otiset?
m No
n Yes

Last4 digits of account number Et}§__ _ _

When was the debt incurred? 2015

 

As of the date you file, the claim is: Check all that apply

cl Conlingent

l:l unliquidated

El oispured

Type of PR|OR|TY unsecured claim:
n Domeslic support obligations

o Taxes and certain other debts you owe the government

n Claims for death or personal injury while you were
intoxicated
El other. specify Taxes

LasM digits of account number _
When was the debt incurred? 21112

As of the date you file, the claim is: Check all that apply.

n Corrtingent
l:l Unliquidated
El Dispoted

Type of PR|ORtTY unsecured claim:
0 Dornestic support obligations

El Taxes and certain other debts you owe the government

cl C|aims for death or personal injury while you were
intoxicated
q Other_ Specify COlIeCinIl

Schedu|e El'F: Creditors Who Have Unsecurcd Claims

Total claim Priority Nonpriority
amount amount
$_3511 5 350 $__0
$6000 $6000 s 0

 

page 1 of _\_'_\

Car!a Ano

Fm Name

Detitor 1 Mcjia

mdc Nnme

LaslNamt

Case number (irimrrn\

Your PR!OR|'I"{ Unsecured C|aims _ Goritiriuation Page

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.

E

 

 

 

 

Prion‘ty Crer&tol’s blame
Nurrlber Sheet
city stale ziP code

Who incurred the dabt? Check one.

El Debtor 1 only

El Debtor 2 only

m Debtor 1 and Debtor 2 only

m At least orie of the debtors and another

Cl Check if this claim is for a community debt

ls the claim subject to olfset?

 

 

 

 

L_.l No

n Yes

Priority Creditofs Name

Number Streot

city stale zip code

Who incurred the debt? Check one.

El oenior 1 only

El Debior 2 only

El Debtori and Debiorzoniy

n At least one ofthe debtors and another

l:l Check ifthis claim is fora community debt

ls the claim subject to offset?

 

 

 

l:l No

cl Yes

Prioriiy creditors Namo

Ni.imber Street

City Sl.ate ZlP Code

 

Who incurred the debt? Check one.

Cl Deblor 1 only

l:l Debtor 2 only

|Il nobior 1 and Debior 2 only

Cl Ar least one ofthe debtors and another

ij Check ifthis claim is for a community debt

ls the claim subject to offset?

m No
n ¥es

Off'icia| Form 106EJ'F

Total claim Pt'iol’ity

a m OI.II'lt

Last 4 digits of account number _ 5 3

When was the debt incuried?

As of the date you file, the claim is: Check all that apply.

a Contingent
ill unliquidated
n Disputed

Type of PRIOR}TY unsecured ciaim:

m Domestic support obligations

n Taxes and certain other debts you owe the govemment

n C|aims for death or personal injury while you were
intoxicated

g O‘lher. Specily

 

Last 4 digits of account number _ 5 _ $
When was the debt incum.-d?

As of the date you file, the claim is: Gheck all that apply.

El Contingent
El unliquidated
|Zl oisprried

Type of PRlORlTY unsecured claim:

n Domestic support obligations
L_.I Taxes and certain other debts you owe the government

n C|aims for death or personal injury while you were
intoxicated

L`..l omer. spooliy

 

Last4 digits of account number $ $

When ms the debt incun'ed?

As of the date you file, the claim is: Check all that apply.

m Contingent
El unliquidated
El oispuied

Type of PR|OR|TY unsecured claim:

El Domooiio support obligations

El Taxes and certain other debts you owe the govemn'ierit

l:l C|aims for death or personal injury while you were
intoxicated

E.] orner. spoolry

 

Schedule EIF: Creditors Who Have Unsecured C|aims

Nonpriority
amount

page _Q_-Of _:I

Debtor 1 Carla Ann Mejia
F'n'stName kidde Narne LastName

m List All of Your NDNPR|OR|TY Unsecured C|aims

3. Do any creditors have nonprior'rty unsecured claims against you?

Case number iirioroml

n No. You have nothing to report in lhis part Submit this form to the court with your other schedules

Yes

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
nonpiiority unsecured claim, list the creditor separately for each claim, For each claim listed, identify what type of claim it is. Do not list claims already
included iri Part 1. lf more than one creditor holds a particular claim, list the other creditors in Part 3.lf you have more than three nonpn'ority unsecured

claims till out the Continuation Page of Part 2.

E Ally Financial

Nonpriority Creditol‘s Name
Po Box 380901

 

Nl.imber Street
Bloomington MN 55438

 

Cin Stale ZlP Code

Who incurred the debt? Check one.

m Del:itor ‘l only

U Debtor 2 only

E Debtor 1 and Dabior 2 only

i:i At least one of the debtors and another

El Check ifthis claim is for a community debt

ls the claim subject to offset?
No
n Yes

i '2 i Barclays Card Mcrcury Scrvii:es
Nonpriority Cre¢£tol‘s blame

16 Mcleland Road
Number Street

Saint Cluud MN 56303
Cle State ZlP Code
Who incurred the debt? Check one.
n Debtori only
m Debtor 2 only
El center 1 and cabrorz only
i;i At least one ofthe debtors and another

|:l Check il this claim is for a community debt

ls the claim subject to offset?
m No
i:i ‘fes

E:| Blazc Credit Card

Nonpriority Creditol's Name
Po Box 2534
Number Street

Omaha N`E 68103-2534
city Surle zlP code
Who incurred the debt? Clieck one.
i:i Debtorl only
m Debtor 2 only
El oeolor 1 and senior 2 only
i:i At least one of the debtors and another

\:l Check if this claim is for a community debt

ls the claim subject to offset?
m No
El Yes

Olt'icial Fonn ‘lOGEl'F

Schedule EIF: Cred'rtors Who Have Unsecured C|aims

 

 

Total claim
La t4 d' 'ts of acco nt number
5 lgl l.l _ _ _ _ s 13544
When was the debt incurred? 2111 §
As of the date you ti[e, the claim is: Check all thatapply.
i;i Conl:'irigent
L'.] unliquidated
El oisourad
Type of NONPRIOR|TY unsecured claim:
n Student loans
n Obligations aiisirig out of a sepaialion agreementh divorce
that you did not report as priority claims
El Debts to pension or proht-sharing plans, and other similar debts
la Ol.her. Specify Auto Loan
Last4 digits of account number _22£ ___ _ $ 2103
When was the debt incun'ed? 2014
As of the date you file, the claim is: Checl-r all that apply.
n Corilr'rigent
El unliquidated
C] oispuiod
Type of NONPRIOR|TY unsecured claim:
Ei Student loans
m Obligatl'ons arising out of a separation agreement or divorce
that you did not report as priority claims
m Dest to pension or prolit-sharirig plans, and other similar debts
a Other. Specify Collection
Last4 digits of account number __60'& __ _ $ 0
__EL____..__.

When was they debt inourred? 2016

As of the date you tile, the claim is: Check all that apply

l;i Contingent
El Uniiqrridaied
El Diapuied

Type of NONPRIOR|TY unsecured claim:

El Student loans

n Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

n Debts to pension or prolit-shaiing plans, and other similar debts

m other speed Credit Card

.p`agi;=B_ of _@

Deblor 1 `Carla Arm Mt_:ji_a

Frrst Name llidde Name Last Name

Case number urie-rawl

Your NONFRIOR|TY Unsecured C|aims - Continuation Page

Aftor listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

4.4

 

 

 

Officiai Forrn iOSEIF

 

Capital Onc Bank
Nonpriority Crod'rlor's blame

Po Box 71083
Number Street

§§harolettcr NC 29272-1083
city stale ziP code

Who incurred the debt? Checl< one.

m Deb‘lor 1 only

m Debtor 2 only

n Debtor 1 and Debtor 2 only

13 At least one of the debtors and another

l;l Check ifthis claim is for a community debt
ls the claim subjectto offset?

m No
n ‘(es

Capital One Bank
Nonpriority Credilor‘s Name

Po Box 71083
Number Street

Charolettc NC 292'72-1083
City Stale ZlP Code

Who incurred the debt? Check one.

cl Debtor 1 only

m Debtor 2 only

g Debtor 1 and Debtor 2 only

l;l At least one of the debtors and another

l:l Check ii this claim is fora community debt

ls the claim subject to offset?

gi No
l:l Ves

Cagiini one Bank
Nonpriority Creditors Name

Po Box 30281
Nr.rmber Street

Salt Lakc Citv U'I` 84130
city state zii=' code
Who incurred the debt? Check one.

b Debtor1 only

Cl Debtor 2 only

El Debtor 1 and Debtor 2 only

l:l At least one of the debtors and another

l:l Check ifthis claim is for a community debt

ls the claim subject to offset?

d No
§ Yes

Schedule EIF: Croditors Who Have Unsecured Claims

Total claim

Last4 digits of account number LZI__ __ _ s 300
When was the debt incun~ed? 2016

As of the date you file, the claim is: Check all that app|y.

El Contirrgent
E'] unliquidated
l:.l Disputed

Type of NONPRIOR|TY unsecured claim:

a Student loans

cl Obligalions arising out of a separation agreement or divorce that
you did not report as priority claims

El cents to pension or pmm-sharing pians, and other similar debts

m owen specify Credit Card

Last 4 digits of account number 360_ _ ._. $__8..‘;'..;-..__

When was the debt incun"ed? 2015

As of the date you tile, the claim is: Checl< all that apply.

l;l Contingent
|Il unliquidated
m Disputecl

Type of NONPR|OR|TY unsecured claim:

l:l Student loans

l:l Obligations arising out of a separation agreement or divorce that
you did not report as priority claims
n Debb; to pension or profit-sharing plans, and other similar debts

m Otber.Specify §;[§dit Qa[d _______

$ 1320
Last 4 digits of account number _§§_Sli _ ___ __“"'_

When was the debt incurred? 2017

As of the date you file, the claim is: Cheok all that apply.

n Conijngent
n Uniiquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

El SlJ.ident loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Deb‘ls to pension or protit-sharing plans. and other similar debts

H guyer_ Specirv Credit Card

pagekl of \_,|

Debtom Carla Ann Mejia

Case number annum
Flrst Name Midde Name Las| Name

Part 4: Add the Amounts for Each Type of Unsecured Claim

 

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes on|y. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim.

 

 

 

 

 

Tota| claim
Tota| claims Ga. Domestic support obligations Sa. s 0
from Part 1 Gb. Taxes and certain other debts you owe the
govern ment Gb. 5 350
6c. C|aims for death or personal injury while you were
intoxicated Bc. 0
7 $
Gd. O‘ther. Add all other priority unsecured claims.
Wnte that amount here. Gd. + s 6000
6e. Tow|. Add lines 63 through Sd. 6e.
$ 6350
Tota| claim
rural claims 6" ‘°?t“d°“t '°°“s Bf' $ 229562
from Part 2 Sg. Obiigations arising out ofa separation agreement
or divorce that you did not report as priority
claims 69. $ 0
Sh. Debts to pension or profit-sharing plans, and other
similar debts Bh. $ 0
6i. Other. Add all other nonpriority unsecured claims.
Write that amount here. 6i. + s 88144
Gj. Total. Add lines 6f through Bi. Sj.
$ 317'706

 

 

 

Ofticial Forrn 106EIF Schedule EIF: Creditors Who Have Unsecured Claims page§ of\_:l_

Debtor 1 Carla Ann Mcj_i§

Flrst Name Midde Narrle Last Name

Ca$e l'll.ll'\'llf)ell (iflrnowrl)

m Your NONPRIOR|T\' Unsecured C|aims - continuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth-

 

 

 

4.7

 

Oflicial Forrn 106EIF

 

Celtic Bank Corp
Nonpriority Cred`ltoi's Name

268 State Street Suite 300

 

Number Street

Salt Lake Citv UT 841]1
City State n ZlP Code

Who incurred the debt? Check one.

n Debtor 1 only

m Debtor 2 only

L_..l Debtor 1 and Debtor 2 only

cl At least one of the debtors and another

C] Check if this claim is for a community debt

ls the claim subject to offset?

m No
L:l ¥es

Crcdit One Bank
Nonpn'ority Credltor‘s Name

Midland F ending Llc 2365 Northsidc Drivc Su itc 300
Nurnber Street

§gn Diggg §;A 221!18
city state zll= code
Who incurred the debt? Check one.

il oebtnr 1 only

n Debtor 2 only

El benton and oetnorz only

cl At least one of the debtors and another

Cl Check ifthis claim is for a community debt

ls the claim subject to offset?

il No
uYes

Dish thwork
Nonpriority Creditol*s Name

Po Box 551268
Number Street

Jaclrsooville FL 32255

city stare zlP code

Who incurred the debt? Check one.

cl Debtor‘l only

n Debtor 2 only

m Debtor 1 and Debtor 2 only

n At least one of the debtors and another

l:l Check ifthis claim is for a community debt

ls the claim subject to offset?

il No
[.:l‘res

Schedule EIF: Creditors Who Have Unsecured C|aims

Total claim

Lasl: 4 digits of account number __ ___ __ _ s 500

When was the debt incurred? Unknowll

As of the date you file, the claim is: Check all that apply.

m Contingent
L`.l unliquidated
El oisputed

Type of NONFRIOR|TY unsecured claim:

\:l Stt.ldent loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

m Deth to pension or protit-shaling plans, and other similar debts

9 other. specify Credit Card

Last 4 digits of account number _3115_ s 1200

when was the debt incurred? U“k"°“'"

As of the date you file, the claim is: Check all that apply.

m Contingent
m Urtliquidated
Cl Disputed

Type of NONPR|OR|TY unsecured claim:

g Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or pmm-sharing plans, and other similar debts

EH other. specify ggggil; g;grd

5 353
Last 4 digits of account number

When was the debt incurred? 2014

As of the date you file, the claim is: Check all that apply.

L_..l Contingent
E] unliquidated
m Disputed

Type of NONPRIOR|TY unsecured claim:

m Stl.tdent loans

cl Obligalions arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or profit-sharing plans. and other similar debts

m gmer_ Speoify Entertainment

page§_ of _11.

Dehtor 1 Carla Arm Mejia
Flrst Name kidde Name La:t Name

Case number women

b mYour NONPR|ORITY Unsecured C|aims - Continuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

4.1{|

Diversitied Consultants
Nonpriolity Creditoi's Name

Po Box 551263
Number Stieet

Jaeltsonville FL 32255
city stale zlP cede

Who incurred the debt? Check one.

a Debtor1 only

a Debtor 2 only

m Debtor1 and Debtor 2 only

n At least one of the debtors and another

El Check if this claim is for a community debt

ls the claim subject to offset?

m No
n ‘(es

Enhanced Recoverv Companv
Nonpnority Creditot's Name

Po Box 57547
Number Street

Jacksonville FL 32241
Citir Stato ap code
Who incurred the debt? Check one.

m Debtor 1 onty

a Debtor 2 only

at Debtor 1 and DebtorZ only

m At last one of the debtors and another

n Check if this claim is fora community debt
ls the claim subject to offset?

m No
n ‘(es

Finger Hut
Nonpriority Creditot‘s Name

Po Box 70281
Nuntber Stneet

Philadclghia PA 19176-0281

city state zlP code
Who incurred the debt? Checlr one.

El oebtor 1 only

a Debtor 2 only

El benton and oebtorz only

[:l At least one of the debtors and another

El Check if this claim is fora community debt

ls the claim subject to oifset?

d No
n ‘fes

Oliicial Fonn 106E/F

Schedule E!F: Creditors Who Have Unsecured C|aims

Total Claim

Last 4 digits of account number LL°\____ __
when was the debt incurred? 2014

As of the date you file, the claim is: Check ali that apply.

n Contingent
Cl unliquidated
El Disputed

Type of NONPR|OR|TY unsecured olaim:

El Student loans

n Obligaliorls arising out of a separation agreement or divol'ce that
you did not report as priority claims

cl Debts to pension or prolit-sharing plans, and other similar debts

m Other_ Spec`rfv Collections

Last4 digits of account number omit $ 2810

When was the debt incurred? Unknown

As of the date you tiie, the claim is: Check ali that apply.

n Contingent
El unliquidated
n Disputed

Type of NONPR|ORITY unsecured claim:

cl Student loans

n Obligalions arising out of a separation agreement or divorce that
you did not report as priority claims
n Debts to pension or protit-shaling plans, and other similar debts

m other. specify_(lobes_tions_____

s
Last 4 digits er account number _715_7__ _ __ M_-~

When was the debt incurred? 2018

As of the date you filel the claim is: Check all that appiy.

n Conljngertt
El unliquidated
El Disputed

Type!of NONPR|OR|TY unsecured claim:

m Student loans

cl Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

ij Debts to pension or pruitt-sharing plans, and other similar debts

m Orrter. specify Credit Card

page Z_ 07 §

Debtor1 Carla Ann Mej_ia
Flrst Name Midlie Name Ll¢tName

Case number runway

m Your NONPR|OR|T¥ unsecured C|aims _` Continuation Page

 

 

 

 

 

 

 

 

 

 

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim
4`13 La 4 d' 'te t be 7376
First Financia] st rgi o account num r _ _ ___ __ $L
Nonptio¢ity Credilofs Name wh th d b ? 2014
en was e e t incurred
Po Box 1050
Number Sm: As of the date you file, the claim is: Check all that apply.
N. Sioux Citv SD 57049-1050
guy stale ziP code El Conlingent
ill unliquidated
Who incurred the debt? Check one. cl Dispmed
n Debtor1 only
C] Debtorz only Type of NONPR|Ole unsecured claim:
m Debtor1 and DebtorZ only n mudth loans n
n At least one of me debtors and another m Obligations arising out of a separation agreement or divorce that
n ch k .f th. l . . f m . br you did not report as priority claims
ec l ls c mm ls or a co mundy de cl Deth to pension or prolit-shaling plans, and other similar debts
ls the claim subject to offset? m when Specify gram gard
a No
m Yes
- - 8357 350
First Savinzs Credit Card Lasu dlgns of account number _ _' ”'_ '_' s
Nonpzion'ly Creditot’s Name 2016
When was the debt incurred?
Po Box 2509
N be street
um r As of the date you file, the claim is: Check all that apply.
§!maha NE 68103-2509
city stale zlP code |:| Comj,-,gem
El unliquidated
Who incurred the debt? Check one. a Disputed
El Debtor 1 only §
ill Debtor 2 only Type of NONPR|OR|TY unsecured claim:
§ Debtor 1 and Debtorz only n Smdem loans
At least one of the debtors and another El Obligations arising out of a separation agreement or divorce that
Cl Check if this claim is fora community debt you d'd not re‘_xm as pmmy delms , ,
|:I Debts to pension or profit-shaan plans, and other similar debts
ls the claim subject to offset? a owen Spe¢-rfy gr§dit card
il No
m Yes
nith

First Service Rasidential
Nonprion'ty Credilor‘s Name

Copper Ridge Hoa Po Box 28157
Number Street

Miani FL 33102-8157
city state ziP code
Who incurred the debt? Check one.
l:l Debtor1 only
a Debtor 2 only
iii Debtort and Debtorz only
[:l At least one of the debtors and another
l:l Check if this claim is for a community debt

ls the claim subject to offset?

il No
cl Yes

Ofticia| Fonn 106EIF

Schedule EIF: Creditors Who Have Unsecured C|aims

Last4 digits of account number _3§(L _ _
When was the debt incurred? 2017

As of the date you file, the claim is: Check all that apply.

n Conlingent
L`.l unliquidated
n Dispuled

Type of NONPR|OR|TY unsecured claim:

El student loans

Cl Obligali'ons arising out of a separation agreement or divorce that
you did not report as priority claims

cl Deth to pension or profit-sharing plans, and other similar debts

m owen specify Hoa Ducs

page 8_ of §

Debtor-1l Carla Ann M_£i_ia

Flrsl Name Midds Name Las`t Name

Case number (imiawn)

m ¥our NONFR|OR|TY Unsecured C|aims - Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim
4'16 La 14 d' 'rs r l lie e'ia
Florida Orthopedics s ‘g' ° acc°u" nom r --L -- -- _ $ 600
Nonpriority Creditor's Name w h d b rred? 2018
henwast e e tincu
Law Ofl`lccs 0f Daniel C. Consu 9210 King Palm Dr. ' '
Numbor Stmet . .
As of the date you file, the claim rs: Check all that apply.
Tampa FL 33619
gm slate 219 code Cl contingent
El unliquidated
Who incurred the debt? Check one. n Disputed
n Debtor 1 only
El Debtor 2 only Type of NONPRIOR|TY unsecured ciaim:
m Debtor t and DebtorZ only n Smdem loans
a m least one of the debtors and another cl Obligalions arising out of a separation agreement or divorce that
. . . . . you did riot report as priority claims
n check |f mls c'alm ls for a community debt cl Debus to pension or profit-sharing plans. and other similar debts
ls the claim subject to offset? ca O¢her_ Specify Medi¢a|
iii lid
l:l ‘(es
4.1‘7 - - 2500
- Last 4 drgrts of account number _ _ _ $
Gerco _
Nonpriorily Creditor’s Name 2017
_ _ _ When was the debt incun'ed?
Attn Florrda Underwrrtlng Po Box 9105
Number Smt As of the date you file, the claim is: Check all that apply.
Mgcgn §§A §12§!&21!!5
Cily . StafB ZlP Code E] anfingent
El unliquidated
Who incurred the debt? Check one. n Disputed
m Debtor1 only
El Debtorz only Type of NONPR|OR|TY unsecured claim:
lzl Debtor1 and Debtorz only cl Smdenuoans
n m least one of the debtors and another n Obligatiorls arising out of a separation agreement or divorce that
nc if h. l. . f . youdrdnotreportaspnontyclarms
heck t ls c aim ls ora commumty debt Cl Debts to pension or profit-sharing plans, and other similar debts
is the claim subject to offset? m Other_ gpade gaf lowrance
il No
Cl Yes
4.18 s §§
. Last 4 digits of account number __;§5_§_’_ __ _
Global Imazmg
Nonpriority Credrtol“s Name 2018
When was the debt incurred?_ _______
Coastal Imaging Solutions Po Box 13069
Numm am As of the date you file, the claim is: Check all that apply.
Savannah GA 31416-0069
city stale zlP code [] Comingem
El unliquidated
Who incun~ed the debt? Check one. g msth

m Debtor1 only

t?'.'l oebldrz only

n Debtor 1 and Debtor 2 only

n At least one of the debtors and another

Cl Check ifthis claim is for a community debt

ls the claim subject to offset?

d No
n Yes

Ofi`lcia| ForrTl 106E1'F

Schodule EIF: Creditors Who Have Unsecured C|aims

Type of NONPRIOR|T¥ unsecured ciaim:

a Student loans

a Obligaiions arising out of a separation agreement or divorce that
you did not report as priority claims

n Deth to pension or profit-sharing plans, and other similar debts

m Other. Specify Medical

page 9_ Of _ll

Debtor1 Carla Ann Mci ia
Flrst Name Midclie Name Last Name

Case number tamm

m \'our NONPR|OR|TY Unsecured C|aims - Gontinuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Tota| claim
4`19 Last 4 digits of account number 2242
Jefferson Capital Systcms -_ _ _- -- $ 2103
Nonprion'ly Credilor's Name 2014
When was the debt incurred?
16 Mr:leland Road -------»
Number Sml As of the date you tilel the claim is: Check all that apply.
Saint Cloud NIN 56303
City State ZlP Code Cl Conlingent
Cl unliquidated
Who incurred the debt? Check one. g Disputed
n Debtor 1 only
m oebidr 2 univ Type of NoNPRroRrrY unsecured claim:
n Debtor 1 and Debtor2 only a Sfudem loans
la At least one of me debtors and another m Obligations arising out of a separation agreement or divorce that
. . . . . you did not report as priority claims
C rf l
m heck this c mm ls for a commumty debt l:l Debts to pension or profit-sharing plans, and other similar debts
is the claim subject to offset? a Olher_ Specify collections
g No
n Yes
t 4 d' ' 1500
Mercurv Cm_d Fb&t Las rgrls of account number _ _ __ _ 5
Nonpriority Creditofs Name
When was the debt incurred? Unlmown
700 22nd Ave South
Number elmer 06 As of the date you file, the claim is: Check ali thatapply.
§rggking§ SD 570
Cily State ZlP Code n Conlingent
El unliquidated
Who incurred the debt? Check one. n Disputed
El Debtor1 only
m Debtor 2 only Type of NONPR|OR|TY unsecured claim:
m Debtor1 and DebtorZoniy n Studennoans
n N least one of me debtors and another n Ob|igalions arising out of a separation agreement or divorce that
U Check ifthis claim is for a community debt you md not re?on as monty cl?lms _ ,
cl Debts to pension or prolit-shanng plansl and other similar debts
ls the claim subject to oftset? a Other_ gm gunn card
d No
cl Yes
4.21 $ fZ!E!
' ' 2105
Me"_ick Bank Cal_d Last 4 drgrts of account number _ _ _ _
Norlpriority Creditoi‘s Name 2016
When was the debt incurred?
Po Box 660702
Number Sml As of the date you file, the claim is: Check all that apply.
Dallas TX 75266-0702
City State ZlP Code m Cor‘ltingent
El unliquidaied
Who incurred the debt? Check one_ n Disputed

n Deblor1 only

El Debtor 2 only

il Debtor 1 and oenlorz only

n At least one of the debtors and another

13 Check ifthis claim is fora community debt

ls the claim subject to offset?

dino

El Yes

Ofticial Fonn 106EIF

Schedule EIF: Creditors Who Have Unsecured C|aims

Type of NONFR|OR|TY unsecured claim:

El student loans

m Oh|igations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or proht-sharing plans, and other similar debts

m 0111.=_,,-_ specify Credit Card

page L"_ Of_l_'L

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1 Carla Ann Me'{ia Case number rirrndwni
Flrst Name Mid¢le Name Last Name
Your NONPR|OR\TY Unsecured C|aims _ Continuation I'age
After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so fcrth. Total claim
422 . . Last 4 digits of account number 4596
M159lcstone Crdrt Card _' _- _ -- $__3_0_,0_______,
Nonpiioiity Creditcn‘s Name 2017
_ _ When was the debt incun‘ed?
Genesrs Fs Card Scrvrces Po Box 84059
""'“be' S"°°‘ As ofthe date you iiie, ihe claim is: cheek all ina apply.
Columhus GA 319084059
gay Slale ZlP Code m Contingent
El unliquidaled
Who incurred the debt? Check cne. n Disputed
g Debtor 1 only
in Debtor 2 only Type of NONPR|ORITY unsecured claim:
la Debtor 1 and Debtor 2 only n Student hans
n m least °"e °Hhe debtors and a"°me' l:l Obligaticns arising out of a separation agreement or divorce that
_ _ . _ . you did not report as priority claims
n check lt this claim ls for a commumty debt l:l Debts to pension or prolit-sharing plansl and other similar debts
ls the claim subject to offset? Q Orher_ specify Credit Card
il No
n Yes
l '23 Last4 digits of account number s 500
Mid America Bank ....._. .._. .._ _
Norlpriol'ity Cradiicr‘s Name
_ When was the debt incurred? Unkown
960 Brshog Ave
N“'“be' S“ee‘ As ur the date you nre, the claim is: check all thai apply.
Rolla MO 65401
Cily Slale ZlP Code n Con|jngent
El unliquidated
Who incurred the debt? Check one. n Disputed
Cl Debldr 1 only
lZl Debturzonry Type cf NONPRIOR|TY unsecured claim:
m Debtor1 and Debtor2 only m Smdem wang
m At least one of me debtors and another cl Obligations arising out of a separation agreement or divorce that
. . . . . you did not report as priority claims
m check lf this clalm ls for a commumty debt n Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? a Other. Spec'lfy §§[ggljt §;3[§1
P_’l ue
L`.l Yes
seen
. Last4 digits of account number _2375_ ___ ____
Navicnt
Nonpriority Creditor‘s Name
When was the debt incurred? 2010
Po Box 8004
N“'"b°' SM As urine date you rile, the erairn is: cheek eli trial apply.
Fishcrs IN 46038~8004
C`rb' Siafe ZlP Code l:l Conlingent

Who incurred the debt? Check one.

h Debtor1 only

n Debtor 2 only

n Debtor1 and Debtor£ only

a At least one of lhe debtors and another

El Check if this claim is for a community debt

ls the claim subject to offset?

l*_'l rid
l:l Yes

Offlcial Fom‘l 106E1'F

Schedulc EIF: Creditcrs Who Have Unsecured C|aims

|Il unliquidated
El Dispured

Type of NONPRIOR|TY unsecured claim:

d Swdent ioans

m Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n DebLs to pension or prclit-sharing plans, and other similar debts

El other, speedy School Loan

page 1_1_ of _1_"_

Debtor 1 Carla Ann Meji_a

'l-'lr¥tNlme Midt‘le Name LastName

Case number rinli

m Your NONFRIOR|T‘{ Unsecured C|aims - Continuation Fage

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

 

 

4.25

 

Oliiciai Forrn 1 OSEIF

 

Nick Paras
Ncnpn'cn'ly creditors Name

1918 W. Cass Strcet Suitc B
Ntcmber Streel

Tampa FL 33606 `
city stale zll=l code

Who incurred the debt? Check one.

13 Debtor1 only

l:] Debtor 2 only

m Debtor 1 and Debtor 2 only

l:l At least one of the debtors and another

13 check if this claim is rcr a community debt

ls the claim subject to offset?

fine

n Yes

Northstar Location Serviccs
Nonpriority Cred`rlo¢‘s Name

Financial Services Dept. 4285 Gencsee Street
Number Sl.¢eet

gg_ktgyy_g_gg NY 14225-1943
Cily Stste ZlP Code
Who incurred the debt? Check orle.

n Debtor1 only

El center z only

l:l Debtor1 and Debtorz only

n At least one of the debtors and another

El Check if this claim is for a community debt
ls the claim subject to offset'?

m No
l;l Yes

Pioncer Credit Rccoverv
Nonprlor'lly Creditor‘s Name

Pc Box 2l1
Numbef Street

Forrv NY 14530
city slate zll= code
Who incurred the debt? Check o`ne.

il Debtor 1 only

m Debtorz only

[:l Debtor 1 and Debtor 2 only

L_-l At least one of the debtors and another

l:l Check if this claim is for a community debt

ls the claim subject to offset?

d No
UYes

Schedu|e ElF: Creditors Who Have Unsecured C|aims

Total claim

Last4 digits of account number __ ____“_ ____ ___ $ song

When was the debt incurred? 2017

As of the dale you file, the Claim is: Check all that apply.

l;l Contingent
E| unliquidated
El oisputed

Type of NONPR]OR|TY unsecured claim:

n Student loans

a Obligations alisl`ng out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or profit-sharing plans, and other similar debts

9 other. specify Medical

Last4 digits uf account number BM_
2015

s 13544

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

E] Contlngent
El unliquidated
El oicputed

Type of NONPRJOR|TY unsecured claim:

g Stludent loans

a Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debis to pension or profit-sharing plans, and other similar debts

E Oiher. Spedfv._(lilll&¢lulil$...__.........._..._._`

$ w
Last 4 digits of account number

When was the debt incurred? 2010

As of the date you file, the claim is: Check all that apply.

El Contingent
E| unliquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

d Stl.ldent loans

n Ohligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Deth to pension or pronesharing plans, and other similar debts

E] owen speedy Collecticns

page § Of _l?_

Debtor 1 Carla Ann Mcjia
Flrst Name Midcle Name Last Name

Case number orlotou»n}

* ‘{our NDNPRIOR|'|'Y Unsecured C|aims -- Continuation Page

 

 

4.28|

Portfolio Rccovery
Nonprinrily Cred`tfnr’s Name

120 Corporate Blvd. Suitc 100
Number Straet

Norfolk VA 23502
Ci¢‘y Siale ZlP Code

Who incurred the debt? Check one.

n Debtor 1 only

m Debtor 2 only

Cl Debtor 1 and Debtor 2 only

m At least one of the debtors and another

a Check if this claim is for a community debt

ls the claim subjectto offset?

w No
m \l'es

Portt`olio Recovel;y Assoe
Nonpliority Credilor’s Name

Po Box 12914 Suite 100
Number Stroet

_l‘.l.a.\:.fstlt< VA 23541
Ciiy state zlP code
Who incurred the debt? Check one.

El Debtor 1 only

m Debtor 2 only

El Debtor1 and Debtorz only

n At least Dl'le Of‘lhe debtors and another

|;l Check ifthis claim is fora community debt
ls the claim subject to offset?

DNo

nYes

430

Preferred Collcction And Mgmnt
Nonpriority Credifcll‘s Name

Po Box 2964
Numner street

Tampa FL 33601-2964

city state zlP code
Who incurred the debt? Check one.

ill nestor 1 only

l:l Debtorz only

El Debtor1 and oeotorzonly

n At least one of the debtors and another

l:l Check if this claim is for a community debt

ls the claim subject to offset?

tfl no
m Yes

Oflicial Forrn 106EIF

Schedule EIF: Credit.ors Who Have Unsecured Claims

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim

Last 4 digits of account number glrd__ _ _ s 800

When was the debt incurred? w

As of the date you file, the claim is: Check all trial apply.

m Contingent
lIl unliquidated
|Z| oisputed

Type of NONPRIOR|T\’ unsecured claim:

n Sludent loans

El Obligalions arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or profit-shaan plans, and other similar debts

m Other. Specify Collections

Last 4 digits of account number __i?£.i.]....

When was the debt incurred? Unknown

As of the date you file, the claim is: Check all that apply.

l;l Contingent
|Il unliquidated
n Disputed

Type of NONPRJOR|TY unsecured claim:

n Student loans

l:l Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or profit-sharing plans, and other similar debts

m Other. Specity §§Lg_d'!t §§g[d §§g|lg§t]'gn§

$
Last4 digits of account number __6477_ j'm'o~_

When was the debt incurred? 2018

As of the date you file, the claim is: Check all that apply.

l:l Contingent
|Il unliquidated
n Disputed

Type of NONPR|DRlTY unsecured claim:

n Slndent loans

l:\ Obligalions arising out of a separation agreement or divorce that
you did not report as pliolity claims

m Debts to pension or protit~sl'laling plans, and other similar debts

m OLhel-_ Spe¢ify M€l`lica!

page § of 3

Debtor 1 Carla Ann Meji_a

Fnst Name Wde Name Last Name

Case number rifimvnr

Your NONPR|OR|T‘{ Unsecured C|aims - Gontini.lation Page

 

 

 

 

 

 

 

 

 

 

 

Afl:er listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth- Total claim
4.3] 4 . .
Progressive Credit Collection Last d'gm" of account number _ _ -- _ s 250
Nonpn‘on‘ty Creditor's Name Unknown
When was the debt incun'ed?
Po Box 607 __
Numbef met As of the date you tile, the claim is: Check all that apply.
Norwood i\r[E 02062
city stare ziP code E| contingent
Cl unliquidated
Who incurred the debt? Check one. [;} Disputed
n Debtor1 only
m Debtor 2 only Type of NONPR!OR|TY unsecured claim:
m Debtor 1 and Debtor 2 only n Student loans
n At bast °ne °f the debtors and another El Obligaiions arising out of a separation agreement or divorce that
n Check if this claim is fora community debt you d'd not report as monty ch_a'ms _ _
n Debls to pension or prolit-shanng plans, and other similar doth
ls the claim subject to offset? id othor. specify §§ollections
P_‘i no
Cl ¥es
. . Last 4 digits of account number _ _ _ _ $ 1200
Progressive Leasing _---
Nonpriority Creditor's Name 2018
When was the debt incurred?
256 W. Data Drive
Nurnber Streef . .
As of the date you file, the claim rs: Check all that apply.
_D_r_gp_er UT 84020
Cili' 51319 ZlP Code n Contingent
El unliquidated
Who incurred the debt? Check one. n Disputed
l:l Debtor1 only
El Debtorz oniy Type of NONPRJORI`IV unsecured claim:
g Debtor1 and oobior zoniv El evident loans
At least one of the debtors and another 5 Obligalions arising out of a separation agreement or divorce that
Cl Check ifthis claim is for a community debt you did nm report as pmm d?'ms . .
l:l Deb\s to pension or protit-shanng plans, and other similar debts
is the claim subjectto offset? a othe¢_ gm again ing
m No
n Yes
tm_u._..

Snectrum
Nenpriorily Creditefs Name

Brighthouse Networks 1’0 Box 790450
Nurnber Street

Saint Louis MO 63179-0450
Cily State ZlP Code
Who incurred the debt? Check one.
n Debtor1 only
Debtor 2 only
l:l Debtor1 and Debtor 2 only
n At least one of the debtors and another
Cl Check if this claim is for a community debt

ls the claim subject to offset?

d No
n Yes

Oflicial Fonn 106Ei'F

Schedute Ein Creditois Who Have Unsecured C|aims

until digits of account number _9__-0_;” m __
When was the debt incurred? 2018

As of the date you filel the claim is: Check all that apply.

m Contingent
El unliquidated
Ei Disputed

Type of NONPRlORI'W unsecured claim:

13 Sludent loans

n Obligalions arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or protit-sharing plans, and other similar debts

m Other_ speci{y Entertaiomeilt

 

page § of 2

Debtor 1 Carla Ann Meija

First Name Midiie Name Last Name

Case number tmi-will

Your NONPR|Ole Unsecured C|aims _ Continuatiorl Fage

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

434

 

 

 

436

Ofl'lcial Forrn 106E]F

 

Sprint
Nonplioiity Creditor‘s Name

Po Boli 549’77
Number Street

Los Angeles CA 90054-0977
City State ZlP Code

Who incurred the debt? Check one.

il Debtor 1 only

m Debtor 2 only

El Debtor 1 and Debtor 2 only

cl At least one of the debtors and another

m Check ifthis claim is fora community debt

ls the claim subject to offset?

@No

UYes

Sw Credit S_ystems Lp
Nonpiiority Creditofs Name

4120 International Parkway Suite 1100
Number Sli'eet

§;grrgllfgn § § 73!!_|7
city stale ziP code
Who incurred the debt? Check one.

n Debtor 1 onlyr

m Debtor 2 only

El Debtor 1 and Debtor 2 only

n At least one ofthe debtors and another

Cl Check ifthis claim is for a community debt

ls the claim subject to oifset?

il No
n Yes

§ynch/score Rewards
Nonpriority Creditul*s Name

Po Box 965005
Niimner street

Orlando FL 32896
city stale ziP code
Who incurred the debt? Check one.

h Debtor1 only

L`.l oeblnrzonly

El Debtor 1 and Debtor 2 only

m At iea${ Clrle Of u‘le debiof$ and another

El Check if this claim is for a community debt
ls the claim subject to offset?

d No
m \(es

Schedule EIF: Creditors Who Have Unsecured C|aims

Total claim

Last4 digits ofaccount number 7_379_ _ ___ s 2100

When was the debt incurred? 2015

As of the date you tile, the claim is: Check all that apply.

m Conlingent
EJ unliquidale
El Dispuled

Type of NONPR]OR|TY unsecured claim:

n Student loans

El Obiigations arising out of a separation agreement or divorce that
you did not report as priority claims

[:l Debts to pension or protit-sharing plans, and other similar debts

fit olner. specify Wirel_¢ss

Last 4 digits of account number 1955 s 4533

When was the debt incurred? 2017

As of the date you file, the claim is: Check all that apply.

cl Contingent
El unliquidated
El Dispuled

Type of NONPR|ORITY unsecured claim:

m Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

l;l Debts to pension or profit-sharing plans, and other similar debts

3 olner. specify gg"gm‘gn§

$
Last4 digits of account number _4236_ _ _ -GM_~_

When was the debt incurred? 2016

As of the date you file, the claim is: Check all that apply.

E] Contingent
Cl unliquidated
C| oispuied

Type of NONPR|OR|TY unsecured o|aim:

a Student loans

l:l Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

cl Debts to pension or protit-sharing plans, and other similar debts

g Othe,-_ Speciry Credit Card

Page 1_5_ Of _11

Debtor 1 Carla Ann Meji_a

Fost Name M'\dde Name Last Name

Case number domain

Your HONFR[OR|TY Unsecured C|aims _ Continuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

 

 

437

 

439

Ofticial Fom‘i 106Ei'F

 

Us Dept Education
Nonpriority Creditors Name

Po Box 320006
Number Streel

Birmingham AL 1€122-1308
City Stale ZlP Code

Who incurred the debt? Check one.

m Debtor 1 only

m Debtor 2 only

El Debtor1 and Debtor 2 only

n At least one of the debtors and another

m Check if this claim is for a community debt

ls the claim subject to otfset?

il No
Cl Yes

Us Dcpt OfEducatiori
Nonpriorlty Creditor‘s Name

Po Box 320006
Number Street

§jrminghgm AL '1512'2-1303
oily stale er code
Who incurred the debt? Check one.

1a Debtor 1 only

\;l Debtor2 only

|Il Dabror 1 and Debrnrz only

n At least one of the debtors and another

l;l Check ifthis claim is for a community debt
ls the claim subject to offset?

ENo
D\’es

Usaa Federal Saving Bank
Nonprloiify Creditoi's Name

10750 Mcdermott Freeway
Nurnber silver

San Antonio 'I`X 78288-9876
city Siala sz' code
Who incurred the debt? Check one.

L_.l Debtor 1 only

l;l Debtor 2 only

E'.l Debtor 1 and Dabror 2 only

cl At least one of the debtors and another

l;] Check ifthis claim is for a community debt

ls the claim subject to offset?

é No
m Yes

Schedu|e EIF: Creditors Who Have Unsecured C|aims

Total `c|aim

Last4 digits of account number ___ ___ _ _

$ 60000
When was the debt incurred? 2010

As of the date you file, the claim is: Check all that apply.

cl Contl'ngent
El unliquidale
n Disputed

Type of NONPR!OR|YY unsecured claim:

il student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims
m Debts to pension or pruitt-sharing plans, and other similar debts

l:l Other.Specify S§udent Loan

Last 4 digits of account number 3535

2009

s 57562
When was the debt incumed?

As of the date you file, the claim is: Check all that apply.

El Contingent
El unliquidated
E| Dispuled

1

Type of NONPR|ORIT¥ unsecured claim:

E:l Student loans

n Obligations arising out of a separation agreement ordivorce that
you did not report as priority claims

n Debts to pension or protit-shaiing plans, and other similar debts

n Other. Speclfy` S§]]Q.lu_l&a.ll__._.__

$ 5000
Last 4 digits of account number _

When was the debt incun'ed? 2010

As cf the date you file, the claim is: Check all that apply.

m Contingent
El unliquidated
L`.l oispulad

Type of NONPR|ORITY unsecured claim:

El Student loans

El Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

13 Deth to pension or profit-sharing plans, and other similar debts

m owen Spe¢-,iry Collectious

page § cf l"'_

Debtor 1 Carla Arin Mcjia
Farlit Name Midde Name Last Name

Case number relevant

Your NONPR|ORITY Unsecured Claims - Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim
4.40 La t 4 d‘ its f t be
world omni sin-retail ‘°' '9 ° "°°°“" '“‘"‘ ' -- _- _ _ s 17455
Nonpiiority Creditol‘s Name 2614
_ When was the debt incurred'?
1769 Paragon Drrve
Number Sd'eel As of the date you tile, the claim is: Check all that apply.
Memphis TN 38132
Citr 3le ZlP Code n Contingent
El unliquidated
Who incuned the debt? Check one. n Disputed
§ Debtor 1 only
l:l Debtorz only Type of NONPRIOR|T¥ unsecured claim:
l:l Debtor1 and Debtorzonly n Studenuoans
n At least one ofme demom and another E] Obligations arising out of a separation agreement or divorce that
. . . _ . you did not report as priority claims
n check lf mls dam ls fora commumty debt m Debts to pension or pruitt-sharing plans, and other similar debts
ls the claim subject to offset? m given Specify Unknown
n No
n Yes
|:| Last4 digits of account number _ _ _ _ s
Nonpriotity Creditur’s Name
When was the debt incurred?
ri be street
um f As of the date you file, the claim is: Check all that apply.
my state ziiJ code El Contingent
El unliquidated
Who incurred the debt? Check one. n Disputed
El Debtor 1 only
Cl Debtorz only Type of NONPR|OR|TY unsecured claim:
g Debtor1 and Dabtorz only m Swdem loans
N mask one of me debtors and another a Obligations arising out cia separation agreement or divorce that
. . . . . you did not report as priority claims
g check lf mls clalm ls for a commumty debt m Debts to pension or prolil-sharing plans, and other similar debts
ls the claim subject to offset? l:l Other. Specily
|:l No
n Yes
__ t
Last4 digits of account number ___ __ ___ _
Nonpriority Creditoi’s Name
When was the debt incurred?
N be street
um f As of the date you file, the claim is: Check all that apply.
city Stato ziP code El Contingent

Who incurred the debt? Check one.

El Debtor 1 only

L:l Debtor 2 only

l:l Debtor1 and Debtorz only

l:l Ai least one of the debtors and another

n Check if this claim is for a community debt

ls the claim subject to offset?

n No
a Yes

Oflicial Fonn 106EIF

Schedule EIF: Creditors Who Have Unsecured Claims

E| unliquidated
E| oisputad

Type of NONPRIOR|TY unsecured claim:

n Student loans

El Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

a Debts to pension or profit-sharing plans, and other similar debts

L'J owen spooirv

rage ll of _.ll

Fill in this information to identify your case:

center Cal'la Ann
Flrsl Name Middle Name

Debtor 2 RGh¢l't
tSpouse li iiling) First Name Middle Name

united Slares Bankruptcy conn rorthe:WESTERNJisvicl of TEXAS

%?::$Fber El Check if this is an

amended filing

 

 

 

Oflicial Forrn 1066
Schedule G: Executory Contracts and Unexpired Leases 12115

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
lnformation. lt more space is needed, copy the additional page, fill it outl number the entries, and attach itto this page. On the top of any
additional pages, write your name and case number (if known}.

 

1. Do you have any executory contracts or unexpired leases?
M No. Check this box and file this form with the court with your other schedules You have nothing else to report on this foln'l.
n Yes. Fll| in all of the information below even ifthe contracts or leases are listed on Schedur'e A/B: Properly (Official Forrn 106NB).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for {for
example, rent, vehicle Iease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired |eases. »

Person or company with whom you have the contract or lease State what the contract or lease is for

2.1

 

Name

 

Number Street

 

city slate zlP code
2.2

 

Na me

 

Number Street

 

Cily State ZlP Code
2.3

 

Name

 

Number Street

 

city slate er code
2.4

 

Name

 

Number Street

 

Cit'y State ZlP Code
2.5

Name

 

 

Number Street

 

City State ZlP Code

Officia| Forrn 1063 Schedu|e G: Executory Contracts and Unexpired Leases page 1 of _;)

Debtor 1

Carla Ann

F`zs'l Nan$

Mej ia Case number (ilnrio»n)

Lmt Name

- Addii:ional Fage if You Have More Contracts or Leases

2.6

2.7

2.8

2.9

2.10

2.11

2.12

2.13

Oificia| Fonn 1066

Persorl or company with whom you have the contract or lease

 

Name

 

Number

Street

 

City

Slate

ZlP Code

 

Name

 

Number

Street

 

City

State

ZlP Code

 

Name

 

Number

Street

 

Cily

Slate

ZlP Code

 

Name

 

Number

Street

 

city

Slate

ZlP Code

 

Name

 

Number

Street

 

Ciiy

Slate

ZlP Code

 

Name

 

Number

Street

 

Cif'y

Slate

ZlP Code

 

Name

 

Number

Sireet

 

Ciiy

Slate

ZlP Code

 

Name

 

Number

Street

 

city

Stale

ZlP Code

Schedule G: Executory Contracts and Unexpired Leases

What the contract or lease is for

page»?; Ofl-

Fill in this information to identity your case-z

Debtor1 Carl=l Ann Mejia
Fls| Name Midde Name Last Name

Debtor 2 Robert Mejia
(Spouse, if iiling} trust Name made Name Last Name

united states Bankruptcy court for thaNESTERN District cr TEXAS

Case number
tit known)

 

 

El check ifthis is an
amended ti!_irtg

Oi°iicial Form 106H
Schedule H: Your Codebtors 12115

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible if two married people
are tiiing together, both are equally responsible for supplying correct infonnation. lt more space is needed, copy the Additional Page, till it out,

and number the entries in the boxes on the left. Attach the Additionai Page to this page. On the top of any Addit.ionai Pages, write your name and
case number (if known). Answer every question.

 

1. Do you have any codebtors? (lf you are tiling a joint case. do not list either spouse as a codebtor.)

3 No
El Yes
2. Within the last 8 years, have you lived in a community property state or territory? (Commum"ty property states and territories include
An'zona, California, |daho, l.ouisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
El No. Go to line 3.
g ¥es. Did your spouse, fenner spouse, or legal equivalent live with you at the time?
m No

El Yes. in which community state or territory did you iive? _ Fill in the name and current address of that person.

 

Name ot your spouse, former spouse, or legai equivalent

 

Number Street

 

City State ZlP Code

3. ln Co|umn 1, list all of your codebtors- Do not include your spouse as a codebtor if your spouse is Eiing with you. List the person
shown in line 2 again as a codebtor only ifthat person is a guarantor or cosigner. Make sure you have listed the creditor on

Schedu.le D (OHicia| Fonn 106D), Schedule E/F (Ofl"lcia| Forrn 1BBEIF), or Schedu.le G (Oflicial Forrn 1066). Use Schedule D,
Schedu.le E/Fl or Schedule G to fill out Co|umn 2.

Column 1: Your codebtor Coiumn 2: The creditor to whom you owe the debt

 

Check all schedules that apply:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

3.1
|;l Schedule D, line_
Name
l:.l Schedule EIF, line_
Number street l:l Schedu|e G. line
city state ziP code
3_2
|:l Schedule D, line
Name
D Sohedule Ei'l-', line
Number street |;l Schedule G, line
cia state th code
3.3
\;l Schedule D, line
Name _""_
El Schedule EIF, linem
Numner street U Schedule G, line
City State ZlP Code

 

Oflicial Forrn 106H Schedule H: Your Codebtors page 1 of _Z#

Debtor 1 Carla Ann

First Name

kidde Name

Mejia

Last Name

- Additional Page to List More 60debtors

Coiumn 1: Your codebtor

§

Case number army

 

Name

 

Nllmh&l’

Street

 

city

Slate

ZlP Code

 

Name

 

Number

Street

 

City

Sfélte

Z]F Code

 

Name

 

Numl:er

Sti'eot

 

Citi'

.°"
|

ZlP Code

 

Name

 

Number

Street

 

Ciiir

ZlP Code

 

Name

 

Nurnber

Street

 

Citi'

Slate

ZlP Code

 

Name

 

Nurnber

Sfreet

 

Cif¥

State

ZlF Code

 

Name

 

Number

Street

 

Cify

State

ZlP Code

 

Name

 

Number

Stree!

 

Cit¥

Ofncial Forrn 106H

Sfate

ZJP Code

Schedule H: ‘(our Codebtors

Column 2: The creditor to whom you owe the debt
Check all schedules that apply:
' |;l Schedule D, line

El Schedule EIF, line
U Schedule G, line

 

111 Schedule D, line
El Schedule EtF, line
El Schedule G, line m

U Schedule Dl line___
El Schedule Ei'F, line
EI Schedule G, iine

Cl Schedule D_ line
l:l Schedule EIF, line
l:l Schedule G. line

 

El Schedule D, line
CI Schedule E/F, line
Cl Schedule G, line

El Schedule D, line
El Schedule EIF, line
n Schedule G. line

El schedule o, line
I:l Schedule EIF, line _
Cl Schedule G, line

 

|:| Schedule D, line_
Cl Schedule EIF, line__
El Schedule G, line_

Page gsa Ofg

Fill in this information to identify your case.

 

 

 

Debtor 1 Carla _ Ann Me]ia
Flrst Name Midde Name Last Name
Debtor 2 Robert Mejia
(Spouse, if EIing) Frst Name marie Name Last Name
united states Bankruptcy court torthe: WESTERN District or TEXAS
Case number Check if this is:

 

(ifi<nown)
Cl An amended nling

n A supplement showing postpetition chapter 13
income as of the following date:

 

Of["|Clal FOt’m 1061 m
Schedule l: Your lncome ms

Be as complete and accurate as possibte. if two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct inforrnation. |f you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
if you are separated and your spouse is not filing with you, do not include information about your spouse. if more space is needed, attach a
separate sheetto this form. On the top of any additional pages, write your name and case number {if known). Answer every question.

 

 

Fart 1: Describe Employrnent

 

1. Fill in your employment _
information Debtor 1 Debtor 2 or non-filing spouse

lf you have more than one job,
attach a separate page with

 

 

 

 

 

 

information about additional Emp'°y'“°“t Sm”s g Emp'°yed m Emp|°y€d
employers 0 Not employed l;l Not employed
include part-time, seasonal, or
self-employed work. occupation Waitrcss Merchandiser
Oocupation may include student
or homemaker, if it applies.
Employer's name La“dl'Y-'» GSC
Willie Gs Post Oak 1510 Wcst Loop 130 Hillcrest Drive Sufpher Springs, TX
Employer’s address SouthHouston Texss 7702'7 75482
Number Slreet Number Street
City state zlP Code city state zlP code
l~Iow long employed there? 8 months 8 months

Give Details Ahout Morlthly lncorrle

Estimate monthly income as of the date you file this form. if you have nothing to report for any linel write $0 in the spaoe. include your non-titing
spouse unless you are separated

lf you or your non-filing spouse have more than one employer, combine the information for ali employers for that person on the lines
below. lfyou need more space, attach a separate sheet to this form.

For Debtor 1 For Debtor 2 or
non-filing spouse

2. List monthly gross wages. salary. and commissions (before all payroll

 

deductions). lf not paid month|y, calculate what the monthly wage would be. 2. $ 2500 $ 3300
3. Estimate and list monthly overtime pay. _ 3_ + $ 0 + 5 0
4. Calcutate gross income. Add line 2 + line 3. 4. $ 2500 $ 3300

 

 

 

 

 

Oflicia| Fonn 1061 Schedule |: ¥our income page 1

Debtor ‘l Cal’{a Ann Mejia Case number tamm
Fn'st Name dee Name Last Name

 

 

For Debtor 1 For Debtor 2 or
non-filing spouse
Copy line 4 here ............................................................................................... ") 4. $ 2500 $3300
5. List all payroll deductions:
5a Tax, Medicare, and Socia| Security deductions 5e. $350 $450
5h. Mandatory contributions for retirement plans 5h. $ 0 $ 0
5e. Voluntary contributions for retirement plans 5e. $ 0 $ 180
5d. Required repayments of retirement fund loans 5d. $ 0 $0
5e. insurance ' ' 5e. $0 $380
5f. Domestic support obligations 5f. $ 0 $ 0
59. Union dues 59. $0_ $ 0
5h. Other deductions. Specify: meal plan \ 5h_ + $ 20 + $ g
6. Add the payroll deductions Add lines 53 + 5b + 5c + 5d + 5e +5f+ 59 + 5h. 6. $ 370 $ 1010
7. Ca|culatie total monthly lake-home pay. Subtract line 6 from line 4. 7. $ 2130 $ 2290
8. List ali other income regularly received:
Sa. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expensesl and the total $ 0 5 0
monthly net income. 8a. _
ab. interest and dividends 8h. $ 0 s 0

8a. Famin support payments that you, a non-filing spouse, or a dependent
regularly receive

include alimony, spousal support, child support, maintenance, divorce $ 0

 

 

 

 

 

 

settlement and property settlement 8a. 5 0

Bd_ Unemp|oymenl: compensation Bd. $0_____ $ 0

Se. Sociai Security Se. $ 0 $ 0

8f. Other government assistance that you regularly receive
include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assislance Program) or housing subsidies
speeiry: af_ $_0___ lt 0

8g. Pension or retirement income Bg. $ 0 $ 0

8h. Other monthly income. Specify: 8h. + $ 0 +$ 0

9. Add all other income. Add lines 8a + 8b + 8c + 3d + Be + Bf +Bg + 8h. 9. $ 0 $ 0
10.Calculate monthly income. Add line 7 + line 9. _
Add the entries in line 10 for Debtor1 and Debtor 2 or non-filing spouse. 10. $M-_ + $-2'-;9-0_ _ ng_-_

11. Swte all other regular contributions to the expenses that you list in Schedule J.

 

 

 

 

 

include contributions from an unmarried partner, members of your household. your dependents your roommates, and other

friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

 

 

 

 

 

 

specify: 11. + s 0
12 Add the amount in the last column of line 10 to the_amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of YourAssets and Liabilities and Cerlain Si‘alistr'cal lnfonnalion, if it applies 12. $.£4;2.9._._...___..
Com bined

13. Do you expect an increase or decrease within the year after you tile this fonn?

ill No.

monthly income

 

l;l Yes. Expiain:

 

 

Official Forrn 106|

Schedule l: Your income

page 2

 

Fill in this information to identify your casef

Carla Ann Mejia
o ' ` ' '
enter 1 mt me mm mm Last mm Check if this ls.
Debtorz R”b'm Mejia

(spause, imiing) m Name mm Name mms l:] An amended tilan

13 A sup lement showin postpetition chapter 13
United States Bankruptcy Court for the: WESTERN District of TEXAS expel-lies as of the foi?owing date:

Case number MM 1 nor YYYY
(|f known)

 

 

 

Dfiicial Form 106J
Schedule J: Your Expenses ms

Be as complete and accurate as possible. lf two married people are tiling together, both are equally responsible for supplying correct

information. lf more space is needed, attach another sheet to this forrn. On the top of any additional pages,- write your name and case number
(if known}. Answer every question.

Part 1: Describe Your Household

1. ls this a joint case?

[:l No. Go to line 2.
v Yes. Does Debtor 2 live in a separate household?

L,INo

a ¥es. Debtor 2 must file Oflicial Fonn 106J-2. Expenses for Separafe Household ofDebtor 2.

 

 

 

 

 

2_ Do you have dependents? m No _
M Dependent’s relationship to Dependent’s Does dependent live
Do not list Debtor1 and gil `(es. Fill out this information for Debf°“ °r Debtor 2 age with yvu?
Debtor 2. each dependent_._....................... u
Do not state the dependents 5011 22 - No
names V Yes
son 19 g NO
51 ¥es
q No
5 Yes
a No
n Yes
q No
n Yes
3. Do your expenses include m No

expenses of people other than n
yourself and your dependents? Yes

Estimate Your Ongoing identth Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report

expenses as of a date after the bankruptcy is iiled. lf this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

lnclude expenses paid for with non-cash government assistance ifyou know the value of
such assistance and have included iton Schedule l: Your income (Ofticial Fonn 106|.) Y°“r expenses

4. The rental or;home ownership expenses for your residence. lnc|ude irst mortgage payments and

any rent for the ground or lot. 4_ $L_--
lr not included in line 4:

4a Rea| estate taxes 4a $ 250

4b. Property, homeownel’s, or renter's insurance 4b. $ 20

4c. Home maintenanoe, repair. and upkeep expenses 4¢:. $ 50

4d. Homeowner association or condominium dues 4d. $ 85

Otticia| Fonn 106J Schedule J: Your Expenses page 1

 

Debtor 1 Carla Ann Mejia

Flrst Name blidcle Name Last Name
5. Additional mortgage payments for your residence, such as home equity loans
6. Utilities:

10.
11.

12.

13.
14.

15.

16.

17_

18.

19.

20.

Ofliciat Forrn 106J

Sa. E|ectn`city, heat, natural gas

Sb. Water, sewer, garbage collection

6a Te|ephone, cell phone, lntemet, satellite, and cable services
od. Other. Specify: TV ime-met

. Food and housekeeping supplies

_ Childcare and children’s education costs

. Clothing. laundry, and dry cleaning

Persona| care products and services

Medical and dental expenses

Transportation. |nclude gas, maintenance bus or train fare.
Do not include car payments

Entertainment, clubs, recreation, newspapers, magazines, and books
Charitable contributions and religious donations

lnsurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance
15a. Health insurance
15c. Vehlc|e insurance

15d. Other insurance Specify:

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:

 

lnstallment or lease payments:
17a Car payments for Vehic|e 1

17b. Car payments for Vehicle 2
17c. Other. Specity:
17d_ Other. Specify:

Case number {irniawn)

Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay on line 5, Schedule l, Your lncome (O'l‘ficial Fonn 106|}.

Other payments you make to support others who do not live with you.
Specify:

Other real property expenses not included in lines 4 or 5 of this form or on Schedule l: Yourlncome.

zoa. Mortgages on other property

zob_ Real estate taxes

20a Prcperty, homeowners or renter's insurance
zod. Mainlenanoe, repair, and upkeep expenses

zoe. Homeovimer's association or condominium dues

Schedule J: Your Expenses

63.
6b.
Gc.
Sd.

10.
11.

12.
13.
14.

15a.
15b.
15c.
15d.

16.

17a.

17b.

17c.

17d.

18.

19.

203.

20b.

ZDC.

20d.

206.

Your expenses

$ 200

s 90
5 25
$ 250
$ 95
$ 200
$ 0

$ 100
$ 100
5 125

s 150

$100
$0

$0
$0
$590
$0

$ 450
$ 450

page 2

Debtor 1 Carla Ann Mejia
First Name Midde Name Last Name

 

21. Other. Specify:

 

22.‘ Calcuiate your monthly expenses.
22a. Add lines 4 through 21.
22b. Copy line 22 (monthly expenses for Debtor 2}, if anyl from Ofticial Fonn 106J-2

22c. Add line 22a and 22b. The result is your monthly expenses

23. Calculate your monthly net income_
23a. Copy line 12 (your combined monthlyincome) from Schedule l.

23b. Copy your monthly expenses from line 22c above.

23c. Subtract your monthly expenses from your monthly income.
The result is your monthly net income

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example. do you expect to finish paying for your car loan within the year or doyou expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

q No.

g Y€S- Expiain here:

Oflicial Fonn 106J Schedule J: ¥our Expenses

Case number miami

21.

23b.

23c.

 

 

+$ 0
$ 6250
$
$
$ 4420
_$ 6250
$ -1830

 

page 3

 

 

Fill iri this information to identity your cese‘.

 

 

Debtor 1 Carla A;m Mejia

F¢st Name Llidde Name Last Name
Debtor 2 Rohert Mejia
(Spoi.ise, ithling) Fntrizme Middi¢ Name Las-i Name

united swiss Bankruptcy court for the: WESTERN District of TEXAS

Case number
(lf known)

 

Cl Check if this is an
amended filing

 

'Oflicial Form 106Dec
Declaration About an lndividual Debtor’s Schedules wis

 

 

|f two married people are 1i|ing together, both are equally responsible for supplying correct information.

You must file this form whenever you tile bankruptcy schedules or amended schedules. Making a false statement concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in tines up to $_250,000, or imprisonment for up to 20
years, or hoth. 18 U.S.C. §§ 152, 1341,1519, and 3571.

- sign sum

Did you pay or agree to pay someone who is NOT an attorney to help you ii|| out bankruptcy forms?

No
m Yes, Name ot person . Attach Bankruptcy Petiti‘on Preparer‘s Noti‘ce, Deci'aration, and
Sr'_o,nature (Ofticial Fonn 119)_

Under penalty of perjuryl l declare thatl have read the summary and schedules liled with this declaration and
that they are true and correct

xC/'@/&i‘;("/"; x(f-Rbe¢\\/\d_\

Signature of Debtor 1 ' Signature of Debtor 2

Date 0 Q \C\ DmeW\C\
MM.' go r % MMI Di'

 

 

Ofticial Fonn 106Dec Declaration About an individual Debtor's Scheduies

Fill in this information to identify your case:

 

 

Debtor 1 Carla Ann Me]ia

Flst blame lillidda Name Last Name
Debtor 2 Robert Mejia
(Spou$e, if EEI!Q) Frst Name Midcle Name Last Name

 

united Siaies Bankruptcy courtforihe: WESTERN District of TEXAS

Case number _ _ _
in mmi El Check if this is an
amended li|ing

 

 

a.£`e § Fgfm 'TU?
Statement of Financial Affairs for lndividuals Filing for Bankruptcy ama

Be as complete and accurate as possible lf two married people are filing together, both are equally responsible for supplying correct
information lf more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known}. Answer every question.

Give Details Al:out ¥our Man'tal Status and Where You Lived Before

1. What is your current marital status?

Eil Manied
Cl Not married

2_ During the last 3 years, have you lived anywhere other than where you live now?
cl No

a Yes. List all of lhe places you lived in the last 3 years De net include where you live now.

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1: Dates Debtor 1 Debtor 2: Dates Debtor 2
lived there lived there
m Same as Debtor 1 El Seme as Debtor1
4105 Copper Canyon Blvd From 1999 4105 Copper Canyon Blvd From 1999
N be Streel N be Slreet
“'" r 70 2018 "'“ “ n To 2018
Valrico 33594 Valrico 33594
city scale zlP code city Slate zlP code
n Same as Debtor1 m Same as Debtor1
From From
Number Slreet ` Number Sl‘.reet
To To
City State ZlP Code City Slate ZlP Code

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Communily properly
states and ten'r'tories include Arizcna, Califomia, ldaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and V\Hsconsin.)

a No
El Yes. Make sure you lil| out Schedule H: Your Codebl‘ors (Oiiicial Fonn 106H).

Expiain the Sour¢:es of ¥our lncome
Ollicia| Foml 107 Stal:ement of Financial Affairs for lndividua!s Filing for Bankruptcy page 1

Carla Ann

Flrst Name

Debtor 1 Me.iia

kidde Name

l.lsf Name

Case number (irimmni

 

4. Did you have any income from employment or from operaan a business during this year orthe two previous calendar yeais?
Fill in the total amount of income you received from all jobs and all businesses, including part-lime activities
ll you are tiling a joint case and you have income that you receive together, list it only once under Debtor 1.

El No
Ei Yes. Fill in the details

From January 1 of current year until
the date you filed for bankruptcy:

For last calendar year:

(January1 to cecember 31, L)
YYYY

For the calendar year before that:
(.ianuary 1 to December 31, er°l'! )
ww

Debtor 1

Sources of income
Check all that apply.

a Wages. commissions

bonuses, tips
cl Operating a business

m Wages, commissions
bonuses, tips

n Operating a business

m Wages, commissions,
bonuses, tips

n Opelaiing a business

Debtor 2

Gross income Sources of income

(before deductions and Check all that apply.
exclusions)
$ 4000 m Wages,commissions,
bonuses, tips
n Operatinga business
a Wages, commissions.
$ 45000 honuses, tips
n Operating a business
m Wages,commissions,
$ 40000 bonuses,tips

a Operatinga business

5. Did you receive any other income during this year or the two previous calendar years?
include income regardless of whether that income is taxable. Examples of otherincome are alimony; child support Sociai Security,
unemployment and other public beneli'i payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
gambling and lottery winnings. if you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately Do not include income that you listed in line 4.

m No
|_I Yes. Fill in the details.

From January 1 of current year until
the date you i'iled for bankruptcy:

For last calendar year:

(January 1 to December 31, )
YwY

For the calendar year before that:
(January1 to December 31, }
YYYY

Oflicial Fonn 107

Debtor 1

Sourt:es of income
Describe beiow_

Debtor 2

Gross income from
each source

(before deductions and
exclusions)

Soumes of income
Describe beiow.

$0

Gl’O$I income

(before deductions and
exciusions)

$4300

$30000

$ 28000

Gross income from
each source

(before deductions and

' exclusions)

_$D

_$

 

 

 

 

Statement of Financia| Affairs for individuals Filing for Bankruptcy

page 2

Debtor 1 Carla Ann

F`l’st Name

Md¢la Name

Mejia Case number (rrr¢nmi
Last Name

List Certain Payments You Made Before You Filed for Bankruptcy

 

5. Are either Debtor 1’s or Debtor 2's debts primarily consumer debts?

m No. Neither Debtor 1 nor Debtor 2 has primarin consumer debts Consumer debts are detined in 11 U.S.C. § 101 (8) as
“incurred by an individual primarily for a personal, famiiy, or household purpose.”

During the 90 days before you ti|ed for bankruptcy, did you pay any creditor a total of $6,425* or more?

Cl No. Go to line 7.

Cl Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations such as

* Subject to adjustment on 4101119 and every 3 years alter that for cases iiied on or after the date of adjustment

child support and alimony. Also, do not include payments to an attorney torthis bankruptcy case.

m Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

No. Go to line 7_

|:_] Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid mat
creditor. Do not include payments for domestic support obligations such as child support and
alimony. Also, do not include payments to an attomey for this bankruptcy case.

Oflicial Fonn 107

Creditor‘s Name

Dates of Total amount paid Amount you still owe
payment

 

Number

Strea‘t

 

 

Cily

Sfate ZlP Code

 

Creditor‘s Name

 

Number

Street

 

 

Ci\¥

Slate ZlP Code

 

Cl'editol"S Name

 

Number

Street

 

 

city

State ZlP Code

Stairernont of Financial Affairs for individuals Filing for Bankruptcy

Was this payment for...

m Mortgage

[3 car

El credit card

cl Loan repayment

n Suppliers or vendors

El other

g Mortgage

n Car

El credit card

cl l.oan repayment

m Suppliers or vendors

m Other

El Mongage

n Car

U credit card

n Loan repayment

U suppliers or vendors

n Other

page 3

Debtor 1 Carla Ann Mejia
Fnt Name Midde Name Last Name

Case number miami

7. Withiri 1 year before you ti|ed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
Insiders include your relatives any general partners; relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are ari oiiicer, director, person in contro|. or owner of 20% or more of their voting securities; and any managing
agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. include payments for domestic support obligations

such as child support and alimony.
U No
a Yes. List all payments to an insider.

Dates of
payment

 

insider Name

Arnount you still

 

 

Number Street

 

 

Cifr side ziP code

 

lns‘clei‘s Name

 

Number Street

 

 

City State ZlP Code

Reason for this payment

B. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited

 

Amountyoi.r still

 

 

 

 

 

 

 

 

an insider?
include payments on debts guaranteed or cosigned by an insider.
q No .
m Yes. List all payments that benefited an insider.
Dates of
payment
lnsider’s Name
Number Street
city stare ziP code
insiders Name
Number Street
city stare ziP code
Or'ticial Fonn 107 Statement of Financia| Atfairs for lndividuais Filing for Bankruptcy

Reason forthis payment
include creditor's name

page 4

Debtor 1 Carla Ann Mejia

Case number (Hknwn)

 

F'ltd Name Middl'|: Name Last Name

m ldantify L¢gal Actions, Repossossions, and Foroclosuros

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modificationsl

and contract disputesl

m No
El Yes. Fill in me details

Case tide

 

Case number

Case title

 

 

 

 

 

Nature of the case Court or agency Status of the case

Com Name_ El Pending

n On appeal
Number Stneet L:l Conc|uded
C`rty State ZlP Code
Com Name n Pending

m On appeal
Number Sh'eet n Concluded

Case number

 

 

City Stale ZlP Code

10. Within 1 year before you filed for bankruptcy. was any ofyour property repossessed, foreclosod, gamished, attached, seized, or levied?

Check all that apply and till in the details below.

m No. Goto line 11.
m Ves. Fill in the information below.

 

 

 

 

 

 

 

 

 

 

Describe the property Date Value of the propedty
Cred'rtor‘s Name $
Nurnber Street Explain what happened
n Property was repossessed.
L:l Property was foreclosed.
l:l Property was garnished.
city state zlP code L:l Property was attached, seized, or levied.
Describe the property Date Value of the property
$
Creditors Name
Number Street
Exp|ain what happened
n Property was repossessed.
g Property was foreclosed.
city Staw zlP code El Property was gamlshed.
n Property was attached, seized, or levied.
Ofticial Fonn 107 Statement of Financial Atfairs for individuals Filing for Bankruptcy page 5

Debtor1 Carla Ann Mejia

Case number (ir)mowni
Fnet Name kidde Name Last Name

 

11. Wi‘thin 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

mNo

[:l Yes. Fill in the details

 

 

 

 

 

Describe the action the creditor took Date action Amount
was taken
Creditor's Name
$
Number Street
Cily 3wa ZlP Code Last 4 digits of account number: XXXX-

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court~appointed receiver, a custodian, or another official?

m No
E:l Yes

m List Cerhin Gi'l‘ts and Con'tribl.ltion$

13.thhin 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
m No
m Yes. l-”rll in the details for each gift.

Gil‘l,s with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts

 

 

 

 

 

$
Person to Whom ¥ou Gave the Giit

$
Number Streat
City State ZlP Code
Person’s relationship to you
Gifls with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts

. $

Person to Whom You Gave the Grft ‘“

$

 

 

Number Street

 

Ci’ly State ZlP Code

Person’s relationship to you

Officia| Forrn 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 6

Debtor-1 Carla Ann Mejia

Case number rra-nmi
Frrst Name Midd|a Name Last Name

1LWiH1in_2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

WNo

l;\ Yes. Fitl in the details for each gift or contribution

Giits or contributions to charities Describe what you contributed Date you

 

 

 

 

Vaiue
that total more than $600 contributed
. _____ $
Chantrs Name
$
Number Street
City Siate ZlP Code

m List Certain Losses

15. W`rthin 1 year before you iited for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambling?

g No
|_I Yes. Fill in the detai|s.

Describe the property you lost and Describe any insurance coverage for the loss Date of your Vaiue of property
how the loss occurred _ _ _ _ _ loss lost
include the amount thatlnsurance has pald. List pending insurance
claims on line 33 of Schedule A/B: Proper!y_
$

List Certain Payrnents or Transfers

16_ Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?

include any attomeys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy

m No
Ei Yes. Fill in the details

 

 

 

 

Description and value of any property transferred Date payment or Amount of payment
transfer was
Person wm was Paid made
Number Sireel $
$
City State ZlP Code

 

Email orwebs'te address

 

Person Who Made the Fayment, if Not You

Officia| Fonn 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 7

Debtor 1 Carla Ann Me.lia Case number (.rk.-tm)

 

 

 

 

 

 

Firs'tNama Middie Nasne Last Name
Description and value of any property transferred Date payment or Amount of
transfer was made payment

Person Who Was Paid
$

Numher Stroet
$

City State ZlP Code

 

Email orwebslte address

 

Person Who Made the Paymerrf, if Not You

17_ Within 1 year before you filed for bankruptcyl did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

l,dNo

Ei Yes. Fill inthe details

 

 

 

 

Description and value of any property transferred Date payment or Amount of payment

transfervvas
made

Person Who Was Paid
w . ... $

Number Street

$
City Stafo ZlP Code

18. Within 2 years before you filed for bankruptcy, did you seli, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
include both outright transfers and transfers made as security (sucn as the granting of a security interest or mortgage on your property).
Do not include gifts and transfers that you have already listed on this statement

|I No
Ei Yes. Firl tn the details

Description and value of property Describe any property or payments received Date transfer
transferred or debts paid in exchange was made

 

Person Who Received Transfer

 

Number Sireet

 

 

C`l‘l'y Sla'le ZlP Code

Person's relationship to you

 

Persorl Who Received Transfer

 

Number Sireet

 

 

Cify Siate ZlP Code

Person's relationship to you

Oliicial Fonn 107 Statement of Financial Affairs for individuals Filing for Bankruptcy - page 8

Debtor 1 Cal'la Allll M¢jia Case number trauma
FirstName Middie Nln)e Last Name

 

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a beneficiary? (These are often called asset-protection devices.)

l;lNo

El Yes. Frrr in rhe derairs.

Description and value of the property transferred Date transfer
was made

Name Of trust

 

List certain Frnenciar mounts, rnstrument¢, sure oepo¢it enxe¢, and storage units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefitl
closed, sold, movedl or transferred?
include checking, savings. money market or other financial accounts; certificates of doposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperativesl associations, and other financial institutions
cl No
U Yes. Firr in the dewrrs.

 

 

Last 4 digits of account number Type of account or Date account was Last balance before
instrument closed, sold. moved, closing ortransfer
or iransfen'ed
Name of Flnanciai institution
xxxx- Cl checking $
Number Street n Savings

CI rrroney market

 

 

 

 

 

 

cl Brokerage

city state zlP code cl other
xxxx- Ci checking s

Name of Financiat institution

n Savings
Nur'nber Street n Money market

m Brokerage

n Other
City State ZlP Code

21- Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other valuables?

m No
lJ ¥es. Frrr in the derairs.

 

 

 

 

 

 

Who else had access to it? Describe the contents Do you still
have it?
n No
Name or Frmrrcrar rnstrtreron mm n ¥es
Number Strect Number Smet
crey sum er code

 

Cl\y Slate ZP Code

Official Fonn 107 Statemont of Financiai Afi"airs for individuals Filing for Bankruptcyl page 9

Debtor 1 Cal'la Ann M¢jia Case number arms
Fust Name Middle Name Last Name

22.l~lave you stored property in a storage unit or place other than your home within 1 year before you ti led for bankruptcy?
a No

El ¥es. Fill in the details

 

 

Who else has or had access to it? Describe the contents Do you still
have it?
n No
Name of Storage Facility Name n Yes
Nurnber Str\et Number Street

 

Citysta'le ZlP Code

 

Clty Sflle ZlP Code

m ld¢n|:i'l'y Froporty ¥ou Hold or Control for Someone Else

 

23. Do you hold or control any property that someone else owns? lnclude any property you borrowed from, are storing for,
or hold in trust for someone.
m No
I.T.l Yes. Fill in the details
Where ls the property? Describe the property , Value

 

Owner's Name $

 

 

Number S“h'eet

 

 

 

Cify Stat& ZlP Code

 

Ci‘|.'y Slate ZlP Code

m Give Detalls About Envlronmental lnfonnation

 

For the purpose of Part 10, the following delinitions app|y:

Envi'ronmental' law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic subslances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or material.

Site means any location, facilityl or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites_

Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
subswnce, hazardous materia|, pollutant contaminant, or similar tenn_

Report all notices. releases, and proceedings that you know about, regardless of when they occurred.

24.Has any govemmen|a| unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

mNo

El Yes. Fill in the details.

 

 

Govemmental unit Environmental law, lf you know it Date of notice
Name of site - Govemmental unit
Number Stroet Numher Street
City State ZlP Code

 

 

City State ZlP Code

Ofncial Fonn 107 Statament of Financial Affairs for |ndividua|s Filing for Bankruptcy page 10

Debtor 1 Carla Ann Me]la Case number (ifimnwn)
First Name Middle Name Lam Name

 

 

25.Have you notified any governmental unit of any release of hazardous material?

uNo

El ves. Fiii in me detaiis.

 

 

 

Govemmental unit Environmental law, ifyou know it Date of notice
Name of site Govemmenta[ unit
Number Stl'eet Nurnb¢r Stre¢t

city sum zlP code

 

city sure zii» code

26. Have you been a party in any judicial or administrative proceeding under any environmental law? lncIude settlements and orders.

mile

EI Yes. Fiii in the detaiis.

 

 

 

 

 

Court or agency Nature of the case ::t:s of the
Case title
com Name n Pending
cl On appeal
Nurnher Streot cl Conc|uded
case number city Staini zii=l code

Give De'talls Abollt Your Businm or Conn¢cilons to Any Buslness

 

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
n A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
a A member of a limited liability company {LLC) or limited liability partnership (LLP)
n A partnerin a partnership
El An officer, director, or managing executive of a corporation

cl An owner of at least 5% of the voting or equity securities of a corporation
No. None of the above applies. Go to Part 12.
n Yes. Check all that apply above and till in the details below for each business.

Describe the nature of the business Employer ldentilication number
Do riot include Social Security number or lTlN.

 

Bus|ness Name

 

 

 

 

 

 

 

E|N: __________-_________________
Number Street
Name of accountant or bookkeeper Dates business existed
From To
city state ziP code
Describe the nature of the business Employer ldentiticalion number
_ Do not include Social Security number or lTlN.
Business Name
EIN:__-_________________
Number Streel
Name of accountant or bookkeeper Dates business existed
From To
city since ZP code

Official Fonn 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 11

Debtor 1 Carla Arm Mcjia

Case number (irirnoimi
Fust Name M'ddle Name last Name

Employer identification number
Do not include Social $ecurity number or l'l1N.

Describe the nature ofthe business

 

Buslness Name

 

 

E|N:____-_________
N""'h°' md Name of accountant or bookkeeper Date$ business exl*ted
From To

 

city sure zii= cone

28. Within 2 years before you liled for bankruptcy, did you give a financial statement to anyone about your business? lnclude all financial
institutions, creditors, or other parties

q No
El Yes. i=iii in ihe details below.

Date issued

 

Name iiiiii i no i ~m"r

 

Number Stmet

 

 

City Slate ZlPCocle

Part 12: $Ign B¢lovv

l have read the answers on this Sfatement of Financial Affairs and any attachments, and l declare under penalty of perjury that the
answers are true and correct l understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in tines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341l 1519, and 3571.

x Q@A gac/77- ;;2@.3:\:-\,,_\

Signature of Debtor 1 Signature of Debtor 2

Date g 2d Lc:'\[ 2,©\ g Date 5 /2~©\ O\ §

Did you attach additional pages to Your Statement of Financial Alfairs for individuals Filing for Bankruptcy (Oflicial Forrn 107)'?

mNo

El Yes

Yyou pay or agree to pay someone who is not an attorney to help you till out bankruptcy forms?
No

\:l Yes. Name of person . Attach the Bankmptcy Feti°tion Preparer's Notice,
Declarati'on, and Signalure {Ollicial Fonn 119).

0flicial Fonn 107 Statement of Financial Affairs for |ndividuals Filing for Bankruptcy page 12

 

Fill in this information to identify your case:

 

 

rla Mc'ia
Debtor1 Ca Ann .I

F\rst Name loiiddle Name Last Name
Debtor 2 Rohert Mejla
(Spouse, if liling) Fm Name braun Name Last Name

United States Bankruptcy Court for the: WESTERN District of TEXAS

case number El check ifthis is an
urknm) amended iiling

 

 

Unlclal l-orm 108
Statement of lntention for lndividuals Filing Under Chapter 7 wis

|f you are an individual filing under chapter 7, you must fill out this form if:

l creditors have claims secured by your property. or

l you have leased personal property and the lease has not expired-

You must tile this form with the court within 30 days after you file your bankruptcy pelition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the fonn.

lf two married people are filing together in a joint case, both are equally responsible for supplying correct information
Both debtors must sign and date the form.

Be as complete and accurate as possib|e. lf more space is needed, attach a separate sheet to this form. On the top of any additionai pages,
write your name and case number (if known).

List Your Creditors Who Have Secured C|aims

1. For any creditors that you listed in Part 1 of Schedule D: Credr'tors Who Have Claims Secured by Froperly {Officia| Form 1DBD}, fill in the
information below.

 

 

 

 

 

 

 

 

 

 

 

 

 

identify the creditor and the property that is collateral swel;altrg;;y:\;li::;end to do with the property that E;dey(:;;lta;nr: 331 :;olrl):rcty?
g::j;°r’s Exeter Finance Llc m SU'TG“dBFthe prOPe'W- 40
_ _ f:l Retain the property and redeem it. \/ res
Br::cenr?yvon of m Retain the property and enter into a
securing debt: Reaffr'rmaizon Agreement_
El Retain the property and [explain]:
2015 Hyndai Elantra
g;:?::or‘$ Treadway/fenton Pllc |:l S"'"e"der the property' - N°
_ _ l_l Retain the properly and redeem it. 95
E;;;n;ytmn of n Retain the-property and enter into a
securing debt Reallirmatron Agreemenr.
ill Retain the property and [explain]:
Home 4 Bedroom Single Famin A¥oid I im
g;qd;°ris Jefferson Capital Systems n Su"ender me PT°PE"W- - N°
_ _ |;l Retain the properly and redeem it. 35
E;spc;t,;mn of l;l Retain the'property and enter into a
securing debt: Realiinnauon Agreement.
W Retain the property and [exp|ain]:
Personal Property And Assests A!Qid_l¢i§:n______
g;en:;t:°r'$ Citibank Na As Trustee For Cwa m S""E“der me Pmpeny- N°
_ _ El Retain the property and redeem it. J Yes
E:];:nr[t};mn of |;l Retain the_property and enter into a
Securing debt Roaiiinnatron Agreement.

|:.i Retain the property and [explain]:
Home 4 Bedroom Single Famin

 

Oflioia| Forrn 108 Stat:ement of lntention for individuals Filing Under Chapter 7 page 1

Carla Ann Mejia

FiTSl Name kidde Name Last N.lme

Debtor 1 Case number (rrimownl

 

List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpr'red Leases (O'l'ficial Fonn 1 UBG),
fill in the information below. Do not list real estate leases Unexpired leases are leases that are still in effect; the lease period has not yet
ended. ‘[ou may assume an unexpired personal property lease ifthe trustee does not assume it. 11 U.S.C. § 365(p)(2).

Describe your unexpired personal property leases Wlll the lease be assumed?

Lessor's name: g N°
l_l ¥es

Description of leased

property:

Lessor’s name: _ m No
El

Description of leased Yes

properly:

Lessor’s name: l;l No

Descripiion of leased l:l Yes

property:

Lessor’s name: g No
El Yes

Description of leased

property:

Lessor‘s name: m No
l:l Yes

Description of leased

property:

Lessor's name: n No
§ Yes

Description of leased

property:

Lessor's name: |._l.. !\lo
';'. Yes

Descn'ption of leased
PI’OP€FUC

Sign Belovv

Under penalty of perjury, l declare thatl have indicated my intention about any property of my estate that secures a debt and any
personal property that rs subject t: ::: :_':'.:::;:_~::‘ ft :T *

x (\® Q/€~C\"/Er~ x_ ~./'---`g---`_

 

Signature of Debtor 1 Signature of Debtor 2
Date C\ Date gpi ')-\% 54 rZQ\q\
MM r DD r MM l DD r

Ofncia| Fonn 108 Statement of intention for individuals Filing Under Chapter 7 page 2

Fill in this information to ldentify your case:

Check one box only as directed in this form and in

Form 122A-1Supp‘

 

Cal'la Ann Mejla

Flst Name Midrle Name Last Name l _
Robert Mejia m 1. There is no presumption of abuse.

Debtor 1

 

Debtor2
(SP°“*- "“‘i"gl F"*"°"‘“ “°d= Name w‘“='“¢ l:l 2. 't'he calculation to determine iia presumption of
TEXAS abuse applies will be made under Chapter 7

Means Test Calculation (Oliicial Fonn 122A-2).

 

United States Bankn.lptcy Court for the: WESTERN District of

Case number El 3. The Means Test does not apply now because of
l" '°1°““) qua|ilied military service but it could apply later.

 

 

 

;" c..,cia irons is an amended firing

Ol"l'”icial Form 122£1¢1
Chapter 7 Statement of Your Current llllonthly income 12115

Be as complete and accurate as possible. |f two married people are filing together, both are equally responsible for being accurate. |f more
space is meoed. attach a separate sheet to this fonn. include the line number to which the additional information applies On the top of any
additional pages, write your name and case number (if known). |f you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and tile Statement ofExempti'on from Presumpn'on of
Abuse Under § 707(b)(2) {Oflicia| Form 122A-1Supp) with this fonn.

 

 

Calculate Your Current lieutth income

 

1. What is your marital and filing slatus? Check one on|y.

cl Not married. Fill out Column A, lines 2-11.
m Married and your spouse is filing with you. l-”l|l out both Columns A and B, lines 2-11.

Cl Married and your spouse is NOT filing with you. You and your spouse are:
n Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2»11.

EI Living separately or are legally separated. l-°il| out Co|umn A, lines 2-11; do not till out Column B. By checking this box, you declare
under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

Fill in the average monthly income that you received from all sources, derived during the 6 full months before you tile this
bankruptcy case. 11 U.S.C. § 101(10A). For examp|e, ifyou are liling on September15, the 6-month period would be March 1 through
August 31. lf the amount of your monthly income varied during the 6 monlhs. add the income for all 6 months and divide the total by 6.
l-'rll in the result Do not include any income amount more than once. For examp|e, if both spouses own the same rental property, put the
income from that property in one column only_ |f you have nothing to report for any line. write $0 in the space.

Column A Column B
Debtor 1 Debtor 2 or
non-Filing spouse

2. Your gross wages, salary, tips, bonuses, overtime, and commissions
(before all payroll deductions). $_.M $__Y_o_l_]_

3. Alimony and maintenance payments Do not include payments from a spouse if
Column B is illed ln. $__ 5

4. All amounts from any source which are regularly paid for household expenses
ofyou or your dependenls, including child support lnclude regular contributions
from an unmarried partner, members of your household, your dependents, parents,
and roommates. lnclude regular contributions from a spouse only if Column B is not
filled in. Do not include payments you listed on line 3. $_0 $__0-

5. Net income from operating a business, profession, Debtor 1 Debtor 2

or farm

Gross receipts {before all deductions) $_0 $_0

Ordinary and necessary operating expenses - 5 - $ 0

Net monthly income from a business, professionl or farm $ 0 $ ::r';y_) $ 0 $ 0
6. Net income from rental and other real property Debtor 1 Debtor 2

Gross receipts (before all deductions) $_____0 $_____9_

Ordinary and necessary operating expenses - $ 0 - $ 0

Net monthly income from rental or other real property $ 0 $ ::r‘:,__y_) $ 0 $
7_ lnterest, dividends, and royalties $ 9 $

Oflicial Fonn 122A-1 Chapter 7 Statement of Your Current Monthly |ncome page 1

Debtor 1 Carla Ann Mejia case number nmi

10.

11.

CaIculate your total current monthly income. Add lines 2 through 10 for each
column. Then add the total for Co|umn A to the total for Co|umn B. $ 2539 $ 3300

 

Fust Name hidde Na me Last Name

Column A Column B
Debtor 1 Debtor 2 or

non-filing spouse

Unemp|oyment compensation $ g $ g
Do not enterthe amount ifyou contend that the amount received was a benetit
under the Social Security Act. lnstead, list it here: ............................... q\‘

For you $
For your spouse ................................................................... $

pension or retirement income. Do not include any amount received that was a

benth under the Social Security Act. $ 0 $ 0

 

income from all other sources not listed above. Specify the source and amount.

Do not include any benefits received underthe Socia| Security Acl or payments received

as a victim of a war crime, a crime against humanity, or international or domestic
terrorism. if necessary, list other sources on a separate page and put the total below.

 

0 $______ s
Total amounts from separate pages, if any. + $ + $

 

 

m Determine Whe'l:her the Maans Test Applies to you

12.Ca|culate your current monthly income for the year. Fol|ow these steps:

13.

14.

12a Copy your total current monthly income from line 1 1. copy line 11 here')
Multip|y by 12 (the number of months in a year).

12b. The result is your annual income for this part of the form. 1211

Calculate the median family income that applies to you. Fol|ow these steps:

Fill in the state in which you live. TEXAS

l-'lll in the number of people in your household. ' 4

 

=$ ssoo

 

 

 

Total current
monthly income

$ 5800

x 12
$ 69600

 

Fill in the median family income for your state and size of household 13.

 

s 76933

 

To iind a list of applicable median income amounts, go on|ine using the link specilied in the separate
instructions for this fonn. This list may also be available at the bankruptcy clerk’s oflioe.

How do the lines compare?

14a m Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of ahuse.
Go to Part 3.

14b. g Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Fonn 122A-2.

Go to Part 3 and fill out Fonn 122A-2.

Sign Belo\nll

By signing here. l declare under penalty of perjury that the information on this statement and in any attachments is true and oorrect.

Signature o eblor Signature of Debtor 2

a ' ge ZO\_.
DBMS:DD g Dt %% q

|f you checked line 14a, do NOT till out or tile Fonn 122A-2.
lf you checked line 14b, nil out Forrn 122A-2 and tile it with this fonn.

xl:@,h@;;/‘r@< ’Qb=-II‘T~T

Oflicial Fonn 122A-1 Chapter 7 Statement of Your Current llllonthly |ncome

page 2

 

United States Bankruptcy Court
wEsTERN District Of TEXAS

 

IN RE. Mejia, Carla -and- Mejia, Robert

Debtor(s). Case No.

The above named Debtor(s) hereby verify that the attached list of creditors is true
and correct to the best ofmy/our knowledge and that it corresponds to the creditors listed

in my/our schedules

Dateer Q`Q[Z_O\Cj\ C@KQ»E§_ (_`l/_D/K

l Debtor

(Q§>e~;rv\_x

Joint Debtor

 

 

Ally Financial
Po Box 380901
Bloomington MN 55438

Barclays Card Mercury Services
16 Mbleland Road
Saint Cloud MN 56303

Blaze Credit Card
Po Box 2534
Omaha NE 68103-2534

Capital One Bank
Po Box 71083
Charoletter NC 29272-1083

Capital One Bank
Po Box 71083
Charolette NC 29272-1083

Capital One Bank
Po Box 30281
Salt Lake City UT 84130

Celtic Bank Corp

268 State Street

Suite 300

Salt Lake City UT 84111

Citibank Na As Trustee For Cwa
Robertson, Anshutz, & Schneid
6409 Congress hye Suite 100
Boca Raton FL 33487

Credit One Bank

Midland Funding Llc

2365 Northside Drive Suite 300
San Diego CA 92108

Dish Network
Po Box 551268
Jacksonville FL 32255

Diversified Consultants
Po Box 551268
Jacksonville FL 32255

Enhanced Recovery Company
Po Box 57547
Jacksonville FL 32241

Exeter Finance Llc
Po Box 166097
Irving TX 75016

Finger Hut
Po Box 70281
Philadelphia PA 19176-0281

First Financial
Po Box 1050
N. Sioux City SD 57049-1050

First Savings Credit Card
Po Box 2509
Omaha NE 68103-2509

First Service Residential
Copper Ridge Hoa

Po Box 28157

Miani FL 33102-8157

Florida Orthopedics

Law Offices Of Daniel C. Consu
9210 King Palm Dr.

Tampa FL 33619

Geico

Attn Florida Underwriting
Po Box 9105

Macon GA 31208-9105

Global Imaging

Coastal Imaging Solutions
Po Box 13069

Savannah GA 31416-0069

Irs
Irs
Kansas City MO 64999-0202

Jefferson Capital Systems
16 Mcleland Road
Saint Cloud MN 56303

Jefferson Capital Systems
16 Mcleland Road
Saint Cloud MN 56303

Mercury Card Eb&t
700 22nd Ave South
Brookings SD 57006

Merrick Bank Card
Po Box 660702
Dallas TX 75266~0702

Mi591estone Crdit Card
Genesis Fs Card Services
Po Box 84059

Columbus GA 31908-4059

Mid America Bank
960 Bishop Ave
Rolla MD 65401

Navient
Po Box 8004
Fishers IN 46038-8004

Nick Paras

1918 W. Cass Street
Suite B

Tampa FL 33606

Northstar Location Services
Financial Services Dept.
4285 Genesee Street
Cheektowaga NY 14225-1943

Pioneer Credit Recovery
Po Box 20
Ferry NY 14530

Portfolio Recovery
120 Corporate Blvd.
Suite 100

Norfolk VA 23502

Portfolio Recovery Assoc
Po Box 12914

Suite 100

Norfolk VA 23541

Preferred Collection And Mgmnt
Po Box 2964
Tampa FL 33601-2964

Progressive Credit Collection
Po Box 607
Norwood ME 02062

Progressive Leasing
256 W. Data Drive
Draper UT 84020

Spectrum

Brighthouse Networks

Po Box 790450

Saint Louis MD 63179-0450

Sprint
Po Box 54977
Los Angeles CA 90054~0977

State Of Florida

Dept. Of Children And Families
Po Box 1770

Ocala FL 34478

Sw Credit Systems Lp

4120 International Parkway
Suite 1100

Carrollton TX 75007

Syncb/score Rewards
Po Box 965005
Orlando FL 32896

Treadway/fenton Pllc
1111 Avenida Del Circo
Suite B

Venice FL 34285

Us Dept Education
Po Box 320006
Birmingham AL 35222-1308

Us Dept Of Education
Po Box 320006
Birmingham AL 35222-1308

Usaa Federal Saving Bank
10750 Mbdermott Freeway
San Antonio TX 78288-9876

Wbrld Omni Fin-retail
1769 Paragon Drive
Memphis TN 38132

